                     Case 06-10725-gwz                       Doc 682-6              Entered 06/15/06 23:55:42                           Page 1 of 50




In re
        USA Commercial Mortgage Company                                                                                Case No.
                                                                                                                                             06-10725-LBR
                            Debtor                                                                                                                  (If known)




   Certain Farmers and Fishermen
   Claims of certain farmers and fishermen, up to a maximum of $4,925* per farmer or fisherman, against the debtor, as provided in
   11 U.S.C. § 507(a)(6).




   Deposits by individuals
   Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
   that were not delivered or provided. 11 U.S.C. § 507(a)(7).




   Taxes and Other Certain Debts Owed to Governmental Units
   Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).



   Commitments to Maintain the capital of an Insured Depository Institution
   Claims based on commitments to the FDIC, RTC, director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
   of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution.
   11 U.S.C § 507(a)(9)




   Claims for Death or Personal Injury While Debtor Was Intoxicated
   Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a
   drug, or another substance. 11 U.S.C. § 507(a)(10).




                                                                            3         continuation sheets attached
    * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                        Case 06-10725-gwz                Doc 682-6         Entered 06/15/06 23:55:42       Page 2 of 50




     In re
              USA Commercial Mortgage Company                                                 Case No.
                                                                                                                06-10725-LBR
                                Debtor                                                                                   (If known)

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                (Continuation Sheet)
                                                CODEBTOR                                      CONTINGENT

                                                    HUSBAND, WIFE, JOINT                         UNLIQUIDATED
                                                     OR COMMUNITY
                                                                                                    DISPUTED
        CREDITOR'S NAME AND
            MAILING ADDRESS                                           DATE CLAIM WAS                                                   AMOUNT
          INCLUDING ZIP CODE                                    INCURRED AND CONSIDERATION               AMOUNT OF CLAIM              ENTITLED TO
        AND ACCOUNT NUMBER                                               FOR CLAIM                                                     PRIORITY
         (See instructions Above)
Vendor No:                          s403
DAVID BERKOWITZ                                         COMMISSIONS                                          $64,967.44                $10,000.00
2013 OTTAWA DR
LAS VEGAS, NV 89109-3311

Vendor No:                          s410
DEPARTMENT OF TAXATION                                  TAX                                                  $40,941.67                $40,941.67
1550 E COLLEGE PKWY STE 115                             MODIFIED BUSINESS TAX
CARSON CITY, NV 89706-7937

Vendor No:                          s411
DEPARTMENT OF TAXATION                                  TAX                                                    $4,715.18               $4,715.18
1550 E COLLEGE PKWY STE 115                             PENALTY ON MODIFIED BUSINESS TAX
CARSON CITY, NV 89706-7937

Vendor No:                          s412
DEPARTMENT OF TAXATION                                  TAX                                                     $169.56                 $169.56
1550 E COLLEGE PKWY STE 115                             SALES & USE TAX
CARSON CITY, NV 89706-7937

Vendor No:                          s405
DEVELOPERS CAPITAL FUNDING CORP                         COMMISSIONS                                          $165,000.00               $10,000.00
4500 S LAKESHORE DR STE 322
TEMPE, AZ 85282-7190

Vendor No:                          s19646
ESTEVES, DOUGLAS A                                      GOODS, SERVICE, TRADE                                  $6,468.75               $6,468.75
2291 W MAPLEWOOD ST
CHANDLER, AZ 85248-1725

Vendor No:                          s19647
HAMILTON, PAUL                                          GOODS, SERVICE, TRADE                                    $0.00                   $0.00
18 CHALET HILLS TER
HENDERSON, NV 89052-6697

Vendor No:                          s19648
HANTGES, ANDREW J                                       GOODS, SERVICE, TRADE                                  $5,351.35               $5,351.35
AS TRUSTEE OF ANDREW J HANTGES
LIVING
TRUST DTD 10/5/04
468 MISSION SPRINGS ST
HENDERSON, NV 89052




             Sheet no. 3 of 5 sheets attached to Schedule of
                             Creditors Holding Unsecured Priority Claims
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     In re
              USA Commercial Mortgage Company                                                 Case No.
                                                                                                                06-10725-LBR
                                Debtor                                                                                (If known)

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                (Continuation Sheet)
                                                CODEBTOR                                      CONTINGENT

                                                    HUSBAND, WIFE, JOINT                         UNLIQUIDATED
                                                     OR COMMUNITY
                                                                                                    DISPUTED
        CREDITOR'S NAME AND
            MAILING ADDRESS                                           DATE CLAIM WAS                                                AMOUNT
          INCLUDING ZIP CODE                                    INCURRED AND CONSIDERATION               AMOUNT OF CLAIM           ENTITLED TO
        AND ACCOUNT NUMBER                                               FOR CLAIM                                                  PRIORITY
         (See instructions Above)
Vendor No:                          s19649
HANTGES, THOMAS                                         GOODS, SERVICE, TRADE                                $20,000.00             $10,000.00
1641 STARLIGHT CANYON AVE
LAS VEGAS, NV 89123-6338

Vendor No:                          s409
HARLEY NICHOLS                                          COMMISSIONS                                            $2,162.13            $2,162.13
2561 SEASCAPE DR
LAS VEGAS, NV 89128-6834

Vendor No:                          s19650
KATZ, JERRY M                                           GOODS, SERVICE, TRADE                                $36,720.58             $10,000.00
716 SEA PINES LN
LAS VEGAS, NV 89107-2035

Vendor No:                          s19651
LEE, DEVIN J                                            GOODS, SERVICE, TRADE                                  $8,156.15            $8,156.15
8222 VISTA COLORADO ST
LAS VEGAS, NV 89123-4309

Vendor No:                          s406
LINDA SAMUELS                                           COMMISSIONS                                            $3,750.00            $3,750.00
558 TAM O SHANTER
LAS VEGAS, NV 89109-1493

Vendor No:                          s19652
LOMBARDI, POMPEO                                        GOODS, SERVICE, TRADE                                $43,017.52             $10,000.00
572 SUGARPINE DR
INCLINE VILLAGE, NV 89451-8414

Vendor No:                          s19653
MAFFETT, DALTON F                                       GOODS, SERVICE, TRADE                                $20,067.97             $10,000.00
4948 DUBONNET DR
SPARKS, NV 89436-8134

Vendor No:                          s407
MIKE MOLLO                                              COMMISSIONS                                            $5,587.50            $5,587.50
316 S BROADWAY # B
REDONDO BEACH, CA 90277-3709

Vendor No:                          s19654
MILANOWSKI, JOSEPH                                      GOODS, SERVICE, TRADE                                  $8,333.34            $8,333.34
8520 CHIQUITA DR
LAS VEGAS, NV 89128-7913




             Sheet no. 4 of 5 sheets attached to Schedule of
                             Creditors Holding Unsecured Priority Claims
                        Case 06-10725-gwz                Doc 682-6         Entered 06/15/06 23:55:42       Page 4 of 50




     In re
              USA Commercial Mortgage Company                                                 Case No.
                                                                                                                   06-10725-LBR
                                Debtor                                                                                   (If known)

                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                (Continuation Sheet)
                                                CODEBTOR                                      CONTINGENT

                                                    HUSBAND, WIFE, JOINT                         UNLIQUIDATED
                                                     OR COMMUNITY
                                                                                                       DISPUTED
        CREDITOR'S NAME AND
            MAILING ADDRESS                                           DATE CLAIM WAS                                                   AMOUNT
          INCLUDING ZIP CODE                                    INCURRED AND CONSIDERATION                AMOUNT OF CLAIM             ENTITLED TO
        AND ACCOUNT NUMBER                                               FOR CLAIM                                                     PRIORITY
         (See instructions Above)
Vendor No:                          s19655
PUHR, OLIVER C                                          GOODS, SERVICE, TRADE                                 $31,762.23               $10,000.00
1696 HEARTHSTONE CT
RENO, NV 89521-4048

Vendor No:                          s404
ROBERT BUDAVICH                                         COMMISSIONS                                               $600.00               $600.00
2675 WINDMILL PKWY
HENDERSON, NV 89074-3394

Vendor No:                          s408
SCOTT MROZEK                                            COMMISSIONS                                               $250.00               $250.00
2501 N GREEN VALLEY PKWY STE 126
HENDERSON, NV 89014-2157

Vendor No:                          s19656
STEWART, THOMAS                                         GOODS, SERVICE, TRADE                                 $37,037.93               $10,000.00
330 GLISTENING CLOUD DR
HENDERSON, NV 89012-3119

Vendor No:                          s19657
SZABO, JANET                                            GOODS, SERVICE, TRADE                                 $25,107.97               $10,000.00
292 FRANCISCO ST
HENDERSON, NV 89014-6026

Vendor No:                          s19658
SZABO, JOSEPH                                           GOODS, SERVICE, TRADE                                     $3,256.50            $3,256.50
292 FRANCISCO ST
HENDERSON, NV 89014-6026




             Sheet no. 5 of 5 sheets attached to Schedule of                                                       $533,423.77          $179,742.13
                                                                                               Total
                             Creditors Holding Unsecured Priority Claims
                      Case 06-10725-gwz                Doc 682-6         Entered 06/15/06 23:55:42                Page 5 of 50




         In re   USA Commercial Mortgage Company                                                           Case No.
                                                                                                                          06-10725-LBR
                                     Debtor                                                                                    (If known)


                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

   State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding
   unsecured claims without priority against the debtor or the property of the debtor, as of the date of filing of the petition. The
   complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may
   be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child” and do not
   disclose the child’s name. See 11 U.S.C. § 112; Fed.R.Bankr.P. 1007(m). Do not include claims listed in Schedules D and
   E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled
   "Codebtor", including the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint
   petition is filed, state whether husband, wife, both of them, or the marital community may be liable on each claim by placing
   an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
      If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the
   column labeled "Unliquidated". If the claim is disputed, place an "X" in the column labeled "Disputed". (You may need to
   place an "X" in more than one of these three columns.)
     Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule.
   Report this total also on the Summary of Schedules.
             Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                       CODEBTOR                                                       CONTINGENT

                                                           HUSBAND, WIFE, JOINT                                           UNLIQUIDATED
                                                            OR COMMUNITY
         CREDITOR'S NAME AND                                                                                                  DISPUTED
            MAILING ADDRESS
        INCLUDING ZIP CODE AND                                        DATE CLAIM WAS INCURRED AND
            ACCOUNT NUMBER                                          CONSIDERATION FOR CLAIM, IF CLAIM IS                                    AMOUNT
          (See instructions Above)                                     SUBJECT TO SETOFF, SO STATE                                          OF CLAIM

Vendor No.                                    s19668

 1ST CENTENNIAL BANK                                   X        GUARANTY                                              X   X                 UNKNOWN
 101 E REDLANDS BLVD                                            INVESTMENTS IN OPERATING PARTNERSHIPS
 SUITE 106                                                      RAVENSWOOD APPLE VALLEY, LLC (RANCH
 REDLANDS, CA 92374                                             HOUSE)

Vendor No.                                    s236

 A-1 SECURITY SYSTEMS LTD                                       GOODS, SERVICES, TRADE                                                       $8,306.15
 917 S 1ST ST
 LAS VEGAS, NV 89101-6414

Vendor No.                                    s237

 ACE PEST CONTROL                                               GOODS, SERVICES, TRADE                                                        $190.00
 PO BOX 30848
 LAS VEGAS, NV 89173-0848

Vendor No.                                    s238

 ADP INC                                                        GOODS, SERVICES, TRADE                                                        $364.21
 DESERT MOUNTAIN REGION
 PO BOX 78415
 PHOENIX, AZ 85062-8415




     Sheet no. 1 of 26        sheets attached to Schedule of
                              Creditors Holding Unsecured Nonpriority Claims
                     Case 06-10725-gwz             Doc 682-6         Entered 06/15/06 23:55:42           Page 6 of 50




   In re   USA Commercial Mortgage Company                                                    Case No.     06-10725-LBR
                         Debtor                                                                               (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                           (Continuation Sheet)

                                                   CODEBTOR                                                CONTINGENT

                                                       HUSBAND, WIFE, JOINT                                   UNLIQUIDATED
                                                        OR COMMUNITY
                                                                                                                 DISPUTED
              CREDITOR'S NAME AND                                 DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                 CONSIDERATION FOR CLAIM, IF CLAIM IS                         AMOUNT
               INCLUDING ZIP CODE                                  SUBJECT TO SETOFF, SO STATE                               OF CLAIM
Vendor No.                          s239

 ADVANCED INFORMATION SYSTEMS                               GOODS, SERVICES, TRADE                                            $54,442.50
 4270 CAMERON ST STE 1
 LAS VEGAS, NV 89103-3769

Vendor No.                          s240

 AEGIS LOCKING SYSTEMS                                      GOODS, SERVICES, TRADE                                             $6,013.91
 809 LANGTRY DR
 LAS VEGAS, NV 89107-2020

Vendor No.                          s241

 AICCO INC                                                  GOODS, SERVICES, TRADE                                              $175.49
 DEPARTMENT 7615
 LOS ANGELES, CA 90084-7615

Vendor No.                          s19800

 AMERICAN EXPRESS                                           TRADE PAYABLE                                                     $14,700.00
 PO BOX 360002                                              REVOLVING LINE OF CREDIT
 FORT LAUDERDALE, FL 33336-0002                             USA COMMERCIAL MORT.

Vendor No.                          s388

 ANNEE OF PARIS COIFFURES, INC                              NOTES PAYABLE                                                    $136,116.00
 8057 LANDS END
 LAS VEGAS, NV 89117

Vendor No.                          s243

 ARIZONA BUSINESS MAGAZINE                                  GOODS, SERVICES, TRADE                                             $1,507.50
 3101 N CENTRAL AVE STE 1070
 PHOENIX, AZ 85012-2654

Vendor No.                          s244

 ASCOM HASLER/GE CAP PROG                                   GOODS, SERVICES, TRADE                                              $192.78
 PO BOX 802585
 CHICAGO, IL 60680-2585

Vendor No.                          s245

 ASSURED DOCUMENT DESTRUCTION INC                           GOODS, SERVICES, TRADE                                               $70.00
 8050 ARVILLE ST STE 105
 LAS VEGAS, NV 89139-7149

Vendor No.                          s246

 AT&T                                                       GOODS, SERVICES, TRADE                                               $58.52
 PO BOX 78225
 PHOENIX, AZ 85062-8225




     Sheet no. 2 of 26    sheets attached to Schedule of
                          Creditors Holding Unsecured Nonpriority Claims
                     Case 06-10725-gwz              Doc 682-6         Entered 06/15/06 23:55:42           Page 7 of 50




   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                               (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                   UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                  DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                         AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                               OF CLAIM
Vendor No.                           s19798

 BANK OF AMERICA                                             TRADE PAYABLE                                                          $0.00
 BANK OF AMERICA, N.A. GREENSBORO, NC                        REVOLVING LINE OF CREDIT
 27420-1983                                                  USA COMMERCIAL MORT.
 P.O. BOX 21983
 GREENSBORO, NC 27420-1983

Vendor No.                           s19799

 BANK OF AMERICA                                             TRADE PAYABLE                                                    $100,000.00
 BANK OF AMERICA, N.A. GREENSBORO, NC                        REVOLVING LINE OF CREDIT
 27420-1983                                                  USA COMMERCIAL MORT.
 P.O. BOX 21983
 GREENSBORO, NC 27420-1983

Vendor No.                           s247

 BANK OF AMERICA                                             GOODS, SERVICES, TRADE                                              $809.30
 PO BOX 30750
 LOS ANGELES, CA 90030-0750

Vendor No.                           s281

 BANKERS LIFE                                                GOODS, SERVICES, TRADE                                              $731.64
 CASH RECEIPTS
 PO BOX 7740
 URBANDALE, IA 50323-7740

Vendor No.                           s248

 BEADLE MCBRIDE & REEVES LLP                                 GOODS, SERVICES, TRADE                                             $1,345.00
 2285 RENAISSANCE DR STE E
 LAS VEGAS, NV 89119-6170

Vendor No.                           s249

 BURRELLES LUCE                                              GOODS, SERVICES, TRADE                                              $642.04
 75 E NORTHFIELD RD
 LIVINGSTON, NJ 07039-4532

Vendor No.                           s250

 BUSINESS REAL ESTATE WEEKLY                                 GOODS, SERVICES, TRADE                                             $1,350.00
 PO BOX 15216
 SCOTTSDALE, AZ 85267-5216

Vendor No.                           s251

 CDW DIRECT LLC                                              GOODS, SERVICES, TRADE                                             $1,381.30
 PO BOX 75723
 CHICAGO, IL 60675-5723




     Sheet no. 3 of 26     sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
                     Case 06-10725-gwz             Doc 682-6         Entered 06/15/06 23:55:42           Page 8 of 50




   In re   USA Commercial Mortgage Company                                                    Case No.     06-10725-LBR
                         Debtor                                                                                 (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                           (Continuation Sheet)

                                                   CODEBTOR                                                CONTINGENT

                                                       HUSBAND, WIFE, JOINT                                     UNLIQUIDATED
                                                        OR COMMUNITY
                                                                                                                    DISPUTED
              CREDITOR'S NAME AND                                 DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                 CONSIDERATION FOR CLAIM, IF CLAIM IS                           AMOUNT
               INCLUDING ZIP CODE                                  SUBJECT TO SETOFF, SO STATE                                 OF CLAIM
Vendor No.                          s253

 CHICAGO TITLE AND TRUST COMPANY                            GOODS, SERVICES, TRADE                                             $94,500.00
 1725 S NAPERVILLE RD
 WHEATON, IL 60187-8155

Vendor No.                          s381

 CHICAGO TITLE COMPANY                                      GOODS, SERVICES, TRADE                                              $1,064.00
 ADDRESS UNAVAILABLE AT TIME OF FILING

Vendor No.                          s252

 CHICAGO TITLE                                              GOODS, SERVICES, TRADE                                                $83.00
 3455 CLIFF SHADOWS PKWY STE 110
 LAS VEGAS, NV 89129-1076

Vendor No.                          s254

 CHICAGO TITLE-LAS VEGS                                     GOODS, SERVICES, TRADE                                                $41.00
 3980 HOWARD HUGHES PKWY STE 100
 LAS VEGAS, NV 89109-0993

Vendor No.                          s255

 CIT TECHNOLOGY FIN SERV INC                                GOODS, SERVICES, TRADE                                               $740.44
 PO BOX 100706
 PASADENA, CA 91189-0001

Vendor No.                          s19801

 CITIBANK NV-CREDIT LINE                                    TRADE PAYABLE                                                      $25,000.00
 PO BOX 26901                                               REVOLVING LINE OF CREDIT
 SAN FRANCISCO, CA 94126-0901                               USA COMMERCIAL MORT.

Vendor No.                          s256

 CITICORP VENDOR FINANCE INC                                GOODS, SERVICES, TRADE                                               $156.12
 PO BOX 7247-0322
 PHILADELPHIA, PA 19170-0322

Vendor No.                          s19687

 CITIZENS BUSINESS BANK                            X        GUARANTY                                        X   X              UNKNOWN
 CONSTRUCTION LOAN DEPT                                     INVESTMENTS IN OPERATING PARTNERSHIPS
 701 NORTH HAVEN AVE                                        SOUTHERN CALIFORNIA LAND DEVELOPMENT,
 2ND FL                                                     LLC
 ONTARIO, CA 91764




     Sheet no. 4 of 26    sheets attached to Schedule of
                          Creditors Holding Unsecured Nonpriority Claims
                     Case 06-10725-gwz             Doc 682-6         Entered 06/15/06 23:55:42           Page 9 of 50




   In re   USA Commercial Mortgage Company                                                    Case No.     06-10725-LBR
                         Debtor                                                                                 (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                           (Continuation Sheet)

                                                   CODEBTOR                                                CONTINGENT

                                                       HUSBAND, WIFE, JOINT                                     UNLIQUIDATED
                                                        OR COMMUNITY
                                                                                                                    DISPUTED
              CREDITOR'S NAME AND                                 DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                 CONSIDERATION FOR CLAIM, IF CLAIM IS                           AMOUNT
               INCLUDING ZIP CODE                                  SUBJECT TO SETOFF, SO STATE                                 OF CLAIM
Vendor No.                          s257

 CLARK COUNTY DEPARTMENT OF BUSINESS                        GOODS, SERVICES, TRADE                                               $150.00
 LICENSE
 500 S GRAND CENTRAL PKWY
 PO BOX 551810 3RD FLR
 LAS VEGAS, NV 89155-1810

Vendor No.                          s258

 CLAUDIA THOMAS                                             GOODS, SERVICES, TRADE                                                $43.42
 PO BOX 125
 CRYSTAL BAY, NV 89402-0125

Vendor No.                          s259

 CNA INSURANCE                                              GOODS, SERVICES, TRADE                                               $133.25
 DEPARTMENT LA 21245
 PASADENA, CA 91185-1245

Vendor No.                          s260

 COFFEE CAT COFFEE SERVICE                                  GOODS, SERVICES, TRADE                                               $202.05
 600 MCCORMICK ST
 SAN LEANDRO, CA 94577-1110

Vendor No.                          s261

 COMMERCIAL CONSULTING SERVICES                             GOODS, SERVICES, TRADE                                              $3,029.35
 3137 WESTWOOD DR
 LAS VEGAS, NV 89109-1024

Vendor No.                          s262

 COMMERCIAL MARKETING GROUP                                 GOODS, SERVICES, TRADE                                                $35.00
 6130 W FLAMINGO RD
 LAS VEGAS, NV 89103-2280

Vendor No.                          s19665

 COMMUNITY BANK OF NEVADA                          X        GUARANTY                                        X   X              UNKNOWN
 COMMERCIAL LENDING                                         INVESTMENTS IN OPERATING PARTNERSHIPS
 400 S FOURTH ST                                            HMA SALES
 LAS VEGAS, NV 89101

Vendor No.                          s263

 COMTECH21                                                  GOODS, SERVICES, TRADE                                               $365.19
 PO BOX 9658
 MANCHESTER, NH 03108-9658




     Sheet no. 5 of 26    sheets attached to Schedule of
                          Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz              Doc 682-6          Entered 06/15/06 23:55:42           Page 10 of 50




   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                    UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                   DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                           AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                 OF CLAIM
Vendor No.                           s264

 CORPORATE EXPRESS                                           GOODS, SERVICES, TRADE                                                $399.70
 PO BOX 71217
 CHICAGO, IL 60694-1217

Vendor No.                           s265

 COX COMMUNICATIONS                                          GOODS, SERVICES, TRADE                                                $233.06
 PO BOX 6059
 CYPRESS, CA 90630-0059

Vendor No.                           s266

 CRYSTAL SPRINGS                                             GOODS, SERVICES, TRADE                                                 $34.41
 PO BOX 933
 RENO, NV 89504-0933

Vendor No.                           s267

 DANIEL OBERLANDER                                           GOODS, SERVICES, TRADE                                               $1,482.56
 5532 SPEARFISH LAKE CT
 LAS VEGAS, NV 89148-7645

Vendor No.                           s19931

 DAVID BERKOWITZ                                             COMMISSIONS                                                        $27,483.72
 2013 OTTAWA DR
 LAS VEGAS, NV 89109-3311

Vendor No.                           s387

 DEL AND ERNESTINE BUNCH                                     NOTES PAYABLE                                                   $10,500,000.00
 1909 RED ROBIN COURT
 LAS VEGAS, NV 89134

Vendor No.                           s268

 DELL COMMERCIAL CREDIT                                      GOODS, SERVICES, TRADE                                               $1,958.93
 DEPT 50 - 0059286370
 PO BOX 689020
 DES MOINES, IA 50368-9020

Vendor No.                           s269

 DELUXE BUSINESS CHECKS AND SOLUTIONS                        GOODS, SERVICES, TRADE                                                 $70.18
 PO BOX 742572
 CINCINNATI, OH 45274-2572

Vendor No.                           s270

 DEVELOPERS CAPITAL FUNDING CORP                             GOODS, SERVICES, TRADE                                            $282,750.00
 4500 S LAKESHORE DR STE 322
 TEMPE, AZ 85282-7190




     Sheet no. 6 of 26     sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz             Doc 682-6          Entered 06/15/06 23:55:42           Page 11 of 50




   In re   USA Commercial Mortgage Company                                                    Case No.     06-10725-LBR
                         Debtor                                                                                 (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                           (Continuation Sheet)

                                                   CODEBTOR                                                 CONTINGENT

                                                       HUSBAND, WIFE, JOINT                                     UNLIQUIDATED
                                                        OR COMMUNITY
                                                                                                                    DISPUTED
              CREDITOR'S NAME AND                                 DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                 CONSIDERATION FOR CLAIM, IF CLAIM IS                           AMOUNT
               INCLUDING ZIP CODE                                  SUBJECT TO SETOFF, SO STATE                                 OF CLAIM
Vendor No.                          s271

 DEVIN LEE                                                  GOODS, SERVICES, TRADE                                               $332.33
 8222 VISTA COLORADO ST
 LAS VEGAS, NV 89123-4309

Vendor No.                          s272

 DOWNEY BRAND ATTORNEYS LLP                                 GOODS, SERVICES, TRADE                                             $11,827.56
 555 CAPITOL MALL 10TH FL
 SACRAMENTO, CA 95814-4504

Vendor No.                          s19693

 DOWNEY SAVINGS                                    X        GUARANTY                                        X   X              UNKNOWN
 3501 JAMBOREE RD, NEWPORT BEACH CA                         INVESTMENTS IN OPERATING PARTNERSHIPS
 92660                                                      TRADITIONS @ RORIPAUGH, LLC
 3501 JAMBOREE RD
 NEWPORT BEACH, CA 92660

Vendor No.                          s19640

 ESTEVES, DOUGLAS A                                         GOODS, SERVICE, TRADE                                                  $0.00
 2291 W MAPLEWOOD ST
 CHANDLER, AZ 85248-1725

Vendor No.                          s273

 FEDERAL EXPRESS                                            GOODS, SERVICES, TRADE                                             $18,281.56
 PO BOX 7221
 PASADENA, CA 91109-7321

Vendor No.                          s274

 FIDELITY NATIONAL TITLE CO                                 GOODS, SERVICES, TRADE                                              $1,685.50
 2390 E CAMELBACK RD STE 121
 PHOENIX, AZ 85016-9031

Vendor No.                          s275

 FIDELITY NATIONAL TITLE CO-NTS                             GOODS, SERVICES, TRADE                                               $284.00
 40 N CENTRAL AVE STE 2850
 PHOENIX, AZ 85004-2363

Vendor No.                          s276

 FIELDSFEHN & SHERWIN                                       GOODS, SERVICES, TRADE                                             $14,847.94
 11755 WILSHIRE BLVD 15TH FL
 LOS ANGELES, CA 90025-1506




     Sheet no. 7 of 26    sheets attached to Schedule of
                          Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz             Doc 682-6          Entered 06/15/06 23:55:42           Page 12 of 50




   In re   USA Commercial Mortgage Company                                                    Case No.     06-10725-LBR
                         Debtor                                                                                (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                           (Continuation Sheet)

                                                   CODEBTOR                                                 CONTINGENT

                                                       HUSBAND, WIFE, JOINT                                    UNLIQUIDATED
                                                        OR COMMUNITY
                                                                                                                  DISPUTED
              CREDITOR'S NAME AND                                 DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                 CONSIDERATION FOR CLAIM, IF CLAIM IS                          AMOUNT
               INCLUDING ZIP CODE                                  SUBJECT TO SETOFF, SO STATE                                OF CLAIM
Vendor No.                          s277

 FIORE PROPERTIES                                           GOODS, SERVICES, TRADE                                             $1,506.85
 C/O RODNEY PAYNE
 18124 WEDGE PKWY # 449
 RENO, NV 89511-8134

Vendor No.                          s278

 FIRST AMERICAN TITLE COMPANY-GL-CA                         GOODS, SERVICES, TRADE                                               $42.00
 520 N CENTRAL AVE
 GLENDALE, CA 91203-1926

Vendor No.                          s279

 FIRST AMERICAN TITLE-RIVERSIDE CA                          GOODS, SERVICES, TRADE                                              $276.00
 3625 14TH ST
 RIVERSIDE, CA 92501-3815

Vendor No.                          s280

 GAIL HUFF                                                  GOODS, SERVICES, TRADE                                              $125.00
 3578 APRIL SPRINGS ST
 LAS VEGAS, NV 89147-7720

Vendor No.                          s282

 GOOLD PATTERSON ALES & DAY                                 GOODS, SERVICES, TRADE                                            $46,462.83
 4496 S PECOS RD
 LAS VEGAS, NV 89121-5030

Vendor No.                          s283

 GREENBERG TRAURIG ATTORNEYS AT LAW                         GOODS, SERVICES, TRADE                                              $104.00
 2375 E CAMELBACK RD STE 700
 PHOENIX, AZ 85016-9000

Vendor No.                          s284

 GREENWALD PAULY FOSTER & MILLER                            GOODS, SERVICES, TRADE                                             $8,580.46
 1299 OCEAN AVE STE 400
 SANTA MONICA, CA 90401-1042

Vendor No.                          s19641

 HAMILTON, PAUL                                             GOODS, SERVICE, TRADE                                                 $0.00
 18 CHALET HILLS TER
 HENDERSON, NV 89052-6697




     Sheet no. 8 of 26    sheets attached to Schedule of
                          Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz             Doc 682-6          Entered 06/15/06 23:55:42           Page 13 of 50




   In re   USA Commercial Mortgage Company                                                    Case No.     06-10725-LBR
                         Debtor                                                                                (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                           (Continuation Sheet)

                                                   CODEBTOR                                                 CONTINGENT

                                                       HUSBAND, WIFE, JOINT                                    UNLIQUIDATED
                                                        OR COMMUNITY
                                                                                                                  DISPUTED
              CREDITOR'S NAME AND                                 DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                 CONSIDERATION FOR CLAIM, IF CLAIM IS                          AMOUNT
               INCLUDING ZIP CODE                                  SUBJECT TO SETOFF, SO STATE                                OF CLAIM
Vendor No.                          s19642

 HANTGES, ANDREW J                                          GOODS, SERVICE, TRADE                                                 $0.00
 AS TRUSTEE OF ANDREW J HANTGES LIVING
 TRUST DTD 10/5/04
 468 MISSION SPRINGS ST
 HENDERSON, NV 89052

Vendor No.                          s19633

 HANTGES, THOMAS                                            GOODS, SERVICE, TRADE                                             $10,000.00
 1641 STARLIGHT CANYON AVE
 LAS VEGAS, NV 89123-6338

Vendor No.                          s285

 HASPINOV LLC                                               GOODS, SERVICES, TRADE                                            $92,331.08
 4484 S PECOS RD
 LAS VEGAS, NV 89121-5030

Vendor No.                          s286

 HP                                                         GOODS, SERVICES, TRADE                                             $1,148.72
 PO BOX 402582
 ATLANTA, GA 30384-2582

Vendor No.                          s287

 IDCSERVCO                                                  GOODS, SERVICES, TRADE                                              $108.78
 PO BOX 1925
 CULVER CITY, CA 90232-1925

Vendor No.                          s288

 IKON FINANCIAL SERVICES                                    GOODS, SERVICES, TRADE                                             $1,622.26
 PO BOX 650073
 DALLAS, TX 75265-0073

Vendor No.                          s290

 IRON MOUNTAIN RECORDS MANAGEMENT                           GOODS, SERVICES, TRADE                                               $43.79
 PO BOX 601002
 LOS ANGELES, CA 90060-1002

Vendor No.                          s289

 IRON MOUNTAIN-OFF-SITE DATA PROTECTION                     GOODS, SERVICES, TRADE                                              $137.67
 PO BOX 601018
 LOS ANGELES, CA 90060-1018




     Sheet no. 9 of 26    sheets attached to Schedule of
                          Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz              Doc 682-6          Entered 06/15/06 23:55:42           Page 14 of 50




   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                 (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                     UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                     DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                           AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                 OF CLAIM
Vendor No.                           s291

 JAG BROADCAST VIDEO                                         GOODS, SERVICES, TRADE                                               $300.00
 2051 CANAL RD
 SPARKS, NV 89434-6680

Vendor No.                           s292

 JIMMERSON HANSEN PC                                         GOODS, SERVICES, TRADE                                               $482.13
 415 S 6TH ST STE 100
 LAS VEGAS, NV 89101-6937

Vendor No.                           s293

 JOE BROOKS                                                  GOODS, SERVICES, TRADE                                                $76.79
 ADDRESS UNAVAILABLE AT TIME OF FILING

Vendor No.                           s19634

 KATZ, JERRY M                                               GOODS, SERVICE, TRADE                                              $26,720.58
 716 SEA PINES LN
 LAS VEGAS, NV 89107-2035

Vendor No.                           s294

 KEY EQUIPMENT FINANCE                                       GOODS, SERVICES, TRADE                                               $571.74
 SYSTEM OPS-NY-31-66-0819
 PO BOX 1865
 ALBANY, NY 12201-1865

Vendor No.                           s19692

 KEYBANK NATIONAL ASSOCIATION                       X        GUARANTY                                        X   X              UNKNOWN
 #2 PARK PLAZA, STE 750, IRVINE, CA 92614                    INVESTMENTS IN OPERATING PARTNERSHIPS
 #2 PARK PLAZA, STE 750                                      TANAMERA / RORIPAUGH II, LLC
 IRVINE, CA 92614

Vendor No.                           s19695

 KEYBANK                                            X        GUARANTY                                        X   X              UNKNOWN
 3980 HOWARD HUGHES PKWY                                     INVESTMENTS IN OPERATING PARTNERSHIPS
 SUITE 500                                                   LONGLEY PROFESSIONAL CAMPUS, LLC
 LAS VEGAS, NV 89109

Vendor No.                           s295

 KLVX CHANNEL                                                GOODS, SERVICES, TRADE                                              $2,400.00
 4210 CHANNEL 10 DR
 LAS VEGAS, NV 89119-5413




     Sheet no. 10 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz              Doc 682-6          Entered 06/15/06 23:55:42           Page 15 of 50




   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                    UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                   DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                          AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                OF CLAIM
Vendor No.                           s296

 KUMMER KAEMPFER BONNER & RENSHAW                            GOODS, SERVICES, TRADE                                            $13,199.76
 3800 HOWARD HUGHES PKWY 7TH FL
 LAS VEGAS, NV 89109-0925

Vendor No.                           s297

 LA SALLE BANK                                               GOODS, SERVICES, TRADE                                             $2,500.00
 1350 E TOUHY AVE STE 280W
 DES PLAINES, IL 60018-3369

Vendor No.                           s298

 LAND AMERICA                                                GOODS, SERVICES, TRADE                                               $75.00
 265 FRANKLIN ST 8TH FL
 BOSTON, MA 02110-3113

Vendor No.                           s299

 LANDAMERICA                                                 GOODS, SERVICES, TRADE                                              $235.00
 8928 BRITTANY WAY
 TAMPA, FL 33619

Vendor No.                           s300

 LAS VEGAS COLOR GRAPHICS INC                                GOODS, SERVICES, TRADE                                             $4,080.98
 4265 W SUNSET RD
 LAS VEGAS, NV 89118-3873

Vendor No.                           s301

 LAS VEGAS REVIEW-JOURNAL                                    GOODS, SERVICES, TRADE                                             $5,749.06
 PO BOX 920
 LAS VEGAS, NV 89125-0920

Vendor No.                           s302

 LAS VEGAS VALLEY WATER DISTRICT                             GOODS, SERVICES, TRADE                                               $96.60
 1001 SOUTH VALLEY VIEW BLVD
 LAS VEGAS, NV 89153-0001

Vendor No.                           s303

 LASER PRINTER SPECIALISTS INC                               GOODS, SERVICES, TRADE                                               $69.95
 4625 WYNN RD STE 104
 LAS VEGAS, NV 89103-5327

Vendor No.                           s304

 LAW OFFICE OF RICHARD MCKNIGHT P C                          GOODS, SERVICES, TRADE                                            $66,448.98
 330 S 3RD ST STE 900
 LAS VEGAS, NV 89101-6016




     Sheet no. 11 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
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   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                    UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                   DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                          AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                OF CLAIM
Vendor No.                           s310

 LEBO, MATTHEW                                               GOODS, SERVICES, TRADE                                              $100.22
 707 PANHANDLE DR
 HENDERSON, NV 89014-2557

Vendor No.                           s19643

 LEE, DEVIN J                                                GOODS, SERVICE, TRADE                                                 $0.00
 8222 VISTA COLORADO ST
 LAS VEGAS, NV 89123-4309

Vendor No.                           s305

 LINCOLN BENEFIT LIFE                                        GOODS, SERVICES, TRADE                                              $318.63
 PO BOX 3582
 AKRON, OH 44309-3582

Vendor No.                           s19635

 LOMBARDI, POMPEO                                            GOODS, SERVICE, TRADE                                             $33,017.52
 572 SUGARPINE DR
 INCLINE VILLAGE, NV 89451-8414

Vendor No.                           s19636

 MAFFETT, DALTON F                                           GOODS, SERVICE, TRADE                                             $10,067.97
 4948 DUBONNET DR
 SPARKS, NV 89436-8134

Vendor No.                           s306

 MARLIN LEASING                                              GOODS, SERVICES, TRADE                                              $613.47
 PO BOX 13604
 PHILADELPHIA, PA 19101-3604

Vendor No.                           s307

 MARRON & ASSOCIATES                                         GOODS, SERVICES, TRADE                                             $5,885.91
 111 W OCEAN BLVD STE 1925
 LONG BEACH, CA 90802-4653

Vendor No.                           s308

 MASSMEDIA LLC                                               GOODS, SERVICES, TRADE                                             $3,285.00
 4065 E POST RD
 LAS VEGAS, NV 89120-3992

Vendor No.                           s309

 MATS INC                                                    GOODS, SERVICES, TRADE                                              $760.00
 1864 HIGHWAY 41 SOUTH SE
 CALHOUN, GA 30701-3683




     Sheet no. 12 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz                Doc 682-6          Entered 06/15/06 23:55:42           Page 17 of 50




   In re   USA Commercial Mortgage Company                                                       Case No.     06-10725-LBR
                            Debtor                                                                                (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                              (Continuation Sheet)

                                                      CODEBTOR                                                 CONTINGENT

                                                          HUSBAND, WIFE, JOINT                                    UNLIQUIDATED
                                                           OR COMMUNITY
                                                                                                                     DISPUTED
              CREDITOR'S NAME AND                                    DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                    CONSIDERATION FOR CLAIM, IF CLAIM IS                           AMOUNT
               INCLUDING ZIP CODE                                     SUBJECT TO SETOFF, SO STATE                                 OF CLAIM
Vendor No.                             s242

 MCCORMICK & SCHMICKS                                          GOODS, SERVICES, TRADE                                              $1,475.00
 ADDRESS UNAVAILABLE AT TIME OF FILING

Vendor No.                             s386

 MICHAEL D PETERSEN, TRUSTEE OF THE                            NOTES PAYABLE                                                    $1,500,000.00
 MICHAEL D PETERSEN FAMILY TRUST DTD
 12/9/98
 9005 GROVE CREST LANE
 LAS VEGAS, NV 89134

Vendor No.                             s19644

 MILANOWSKI, JOSEPH                                            GOODS, SERVICE, TRADE                                                   $0.00
 8520 CHIQUITA DR
 LAS VEGAS, NV 89128-7913

Vendor No.                             s311

 MONARCH INTERNATIONALS                                        GOODS, SERVICES, TRADE                                              $2,800.00
 SHOW CIRCUIT MAGAZINE
 19901 NORTHRIDGE RD
 CHATSWORTH, CA 91311-1822

Vendor No.                             s312

 MORTGAGE LENDING DIVISION                                     GOODS, SERVICES, TRADE                                                $100.00
 400 W KING ST STE 406
 CARSON CITY, NV 89703-4256

Vendor No.        NATCITY              s382

 NATIONAL CITY COMMERCIAL CAPITAL                              GOODS, SERVICES, TRADE                                                $220.38
 CORPORATION AS SECURED PARTY
 995 DALTON AVE
 CINCINNATI, OH 45203

Vendor No.                             s314

 NATIONAL CREDIT CHECK                                         GOODS, SERVICES, TRADE                                                $205.50
 3840 YORK ST STE 230A
 DENVER, CO 80205-3574

Vendor No.                             s313

 NETT                                                          GOODS, SERVICES, TRADE                                                $932.04
 PO BOX 96042
 LAS VEGAS, NV 89193-6042




     Sheet no. 13 of 26      sheets attached to Schedule of
                             Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz              Doc 682-6          Entered 06/15/06 23:55:42           Page 18 of 50




   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                 (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                     UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                     DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                           AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                 OF CLAIM
Vendor No.                           s315

 NEVADA BUSIENSS JOURNAL                                     GOODS, SERVICES, TRADE                                              $5,365.00
 4386 S EASTERN AVE STE B
 LAS VEGAS, NV 89119-6052

Vendor No.                           s318

 NEVADA POWER COMPANY                                        GOODS, SERVICES, TRADE                                              $2,376.58
 PO BOX 30086
 RENO, NV 89520-3086

Vendor No.                           s19803

 NEVADA STATE BANK                                           TRADE PAYABLE                                                          $0.00
 PO BOX 990                                                  REVOLVING LINE OF CREDIT
 LAS VEGAS, NV 89125-0990                                    USA COMMERCIAL MORT.

Vendor No.                           s319

 OFFICE DEPOT                                                GOODS, SERVICES, TRADE                                               $773.51
 PO BOX 70001
 LOS ANGELES, CA 90074-0001

Vendor No.                           s19670

 OHIO SAVINGS BANK                                  X        GUARANTY                                        X   X              UNKNOWN
 3333 CONCOURS BUILDING                                      INVESTMENTS IN OPERATING PARTNERSHIPS
 SUITE 100                                                   RAVENSWOOD APPLE VALLEY, LLC
 ONTARIO, CA 91764

Vendor No.                           s19671

 OHIO SAVINGS BANK                                  X        GUARANTY                                        X   X              UNKNOWN
 3333 CONCOURS BUILDING                                      INVESTMENTS IN OPERATING PARTNERSHIPS
 SUITE 100                                                   RAVENSWOOD APPLE VALLEY, LLC
 ONTARIO, CA 91764

Vendor No.                           s19672

 OHIO SAVINGS BANK                                  X        GUARANTY                                        X   X              UNKNOWN
 8920 W TROPICANA AVE                                        INVESTMENTS IN OPERATING PARTNERSHIPS
 SUITE 101                                                   THE VINEYARD INVESTORS, LLC
 ATTN TERRY JONES
 LAS VEGAS, NV 89147

Vendor No.                           s389

 PARIS LINE, LLC                                             NOTES PAYABLE                                                      $31,781.00
 4759 ILLUSTRIOUS ST
 LAS VEGAS, NV 89147




     Sheet no. 14 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz              Doc 682-6          Entered 06/15/06 23:55:42           Page 19 of 50




   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                 (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                     UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                     DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                           AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                 OF CLAIM
Vendor No.                           s390

 PARIS LINE, LLC                                             NOTES PAYABLE                                                      $205,042.00
 4759 ILLUSTRIOUS ST
 LAS VEGAS, NV 89147

Vendor No.                           s320

 PARTNERS TITLE COMPANY                                      GOODS, SERVICES, TRADE                                                $819.25
 5851 SAN FELIPE ST STE 150
 HOUSTON, TX 77057-8010

Vendor No.                           s321

 PECOS PROFESSIONAL PARK                                     GOODS, SERVICES, TRADE                                             $166,788.42
 4484 S. PECOS RD
 LAS VEGAS, NV 89121

Vendor No.                           s19673

 PFF BANK AND TRUST                                 X        GUARANTY                                        X   X              UNKNOWN
 730 ALHAMBRA SUITE 208, SACREMENTO, CA                      INVESTMENTS IN OPERATING PARTNERSHIPS
 95816                                                       MOUNTAIN VIEW INVESTORS
 730 ALHAMBRA SUITE 208
 SACREMENTO, CA 95816

Vendor No.                           s19674

 PFF BANK AND TRUST                                 X        GUARANTY                                        X   X              UNKNOWN
 730 ALHAMBRA SUITE 208, SACREMENTO, CA                      INVESTMENTS IN OPERATING PARTNERSHIPS
 95816                                                       MOUNTAIN VIEW INVESTORS
 730 ALHAMBRA SUITE 208
 SACREMENTO, CA 95816

Vendor No.                           s19686

 PFF BANK AND TRUST                                 X        GUARANTY                                        X   X              UNKNOWN
 ATTN CARY CALKIN                                            INVESTMENTS IN OPERATING PARTNERSHIPS
 730 ALHAMBRA                                                PRESERVE AT GALLERIA, LLC
 SUITE 208
 SACRAMENTO, CA 95816

Vendor No.                           s19689

 PFF BANK AND TRUST                                 X        GUARANTY                                        X   X              UNKNOWN
 ATTN CARY CALKIN                                            INVESTMENTS IN OPERATING PARTNERSHIPS
 730 ALHAMBRA                                                MOUNTAIN VIEW CAMPUS INVESTORS, LLC
 SUITE 208
 SACRAMENTO, CA 95816




     Sheet no. 15 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz              Doc 682-6          Entered 06/15/06 23:55:42           Page 20 of 50




   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                 (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                     UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                     DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                           AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                 OF CLAIM
Vendor No.                           s19675

 PFF BANK AND TRUST                                 X        GUARANTY                                        X   X              UNKNOWN
 CLOSED LOAN                                                 INVESTMENTS IN OPERATING PARTNERSHIPS
                                                             MOUNTAIN VIEW INVESTORS

Vendor No.                           s19666

 PFF BANK AND TRUST                                 X        GUARANTY                                        X   X              UNKNOWN
 MAJOR LOANS DEPT                                            INVESTMENTS IN OPERATING PARTNERSHIPS
 9467 MILLIKEN AVE                                           BELLA ROSA - 104 LOTS & RIVER VALLEY MGMT,
 P O BOX 2729                                                INC.
 RANCHO CUCAMONGA, CA

Vendor No.                           s19667

 PFF BANK AND TRUST                                 X        GUARANTY                                        X   X              UNKNOWN
 MAJOR LOANS DEPT                                            INVESTMENTS IN OPERATING PARTNERSHIPS
 9467 MILLIKEN AVE                                           SAVANNAH HOMES, LLC - 82 LOTS & 84 LOTS IN
 P O BOX 2729                                                VICTORVILLE
 RANCHO CUCAMONGA, CA

Vendor No.                           s323

 PIERCY BOWLER TAYLOR & KERN                                 GOODS, SERVICES, TRADE                                             ($3,803.29)
 6100 ELTON AVE STE 1000
 LAS VEGAS, NV 89107-0123

Vendor No.                           s324

 POSTMASTER                                                  GOODS, SERVICES, TRADE                                              $2,000.00
 POST DUE ACCT PERMIT #BR-378
 1001 E SUNSET RD
 LAS VEGAS, NV 89199-5101

Vendor No.                           s325

 PRO CLEAN MAINTENANCE INC                                   GOODS, SERVICES, TRADE                                               $134.52
 927 HASKELL ST
 RENO, NV 89509-2812

Vendor No.                           s19637

 PUHR, OLIVER C                                              GOODS, SERVICE, TRADE                                              $21,762.23
 1696 HEARTHSTONE CT
 RENO, NV 89521-4048

Vendor No.                           s326

 QWEST                                                       GOODS, SERVICES, TRADE                                                $21.72
 PO BOX 856169
 LOUISVILLE, KY 40285-6169




     Sheet no. 16 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz              Doc 682-6          Entered 06/15/06 23:55:42           Page 21 of 50




   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                    UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                   DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                          AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                OF CLAIM
Vendor No.                           s327

 RAMIREZ DESIGN GROUP                                        GOODS, SERVICES, TRADE                                               $350.00
 2016 ASPEN OAK ST
 LAS VEGAS, NV 89134-6735

Vendor No.                           s328

 RCAT INC                                                    GOODS, SERVICES, TRADE                                                $80.00
 408 NORTH MAIN
 PO BOX 1544
 HUTCHINSON, KS 67504-1544

Vendor No.                           s329

 RD ADVERTISING                                              GOODS, SERVICES, TRADE                                             $30,194.58
 3230 E FLAMINGO RD # 8-532
 LAS VEGAS, NV 89121-4320

Vendor No.                           s330

 RE INK OF NEVADA                                            GOODS, SERVICES, TRADE                                               $897.20
 PO BOX 19543
 RENO, NV 89511-0867

Vendor No.                           s331

 REPUBLIC SERVICES INC                                       GOODS, SERVICES, TRADE                                               $108.55
 PO BOX 78040
 PHOENIX, AZ 85062-8040

Vendor No.                           s332

 RETIREMENT PLANNING CO INC                                  GOODS, SERVICES, TRADE                                              $6,323.00
 2920 S JONES BLVD STE 240
 LAS VEGAS, NV 89146-5394

Vendor No.                           s334

 ROBERT BUDAVICH                                             GOODS, SERVICES, TRADE                                               $200.00
 2675 WINDMILL PKWY
 HENDERSON, NV 89074-3394

Vendor No.                           s335

 ROBERT LEE SHAPIRO                                          GOODS, SERVICES, TRADE                                                $37.00
 2401 PGA BLVD STE 272
 PALM BEACH GARDENS, FL 33410-3515

Vendor No.        RUSSELL R          s383

 ROBERT RUSSELL                                              GOODS, SERVICES, TRADE                                            $100,000.00
 ADDRESS UNAVAILABLE AT TIME OF FILING




     Sheet no. 17 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz              Doc 682-6          Entered 06/15/06 23:55:42           Page 22 of 50




   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                    UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                   DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                          AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                OF CLAIM
Vendor No.                           s336

 RUPP AERIAL PHOTOGRAPHY INC                                 GOODS, SERVICES, TRADE                                              $332.30
 4340 S VALLEY VIEW BLVD STE 200
 LAS VEGAS, NV 89103-4048

Vendor No.                           s337

 RUSSELL AD DEVELOPMENT GROUP LLC                            GOODS, SERVICES, TRADE                                            $21,000.00
 PO BOX 28216
 SCOTTSDALE, AZ 85255-0153

Vendor No.                           s338

 S & J ENTERPRISE INVESTMENTS INC                            GOODS, SERVICES, TRADE                                             $2,064.01
 PO BOX 461
 NAPA, CA 94559-0461

Vendor No.                           s339

 SAMS CLUB                                                   GOODS, SERVICES, TRADE                                             $1,299.35
 PO BOX 4596
 CAROL STREAM, IL 60197-4596

Vendor No.                           s341

 SBC LONG DISTANCE                                           GOODS, SERVICES, TRADE                                             $1,297.45
 PO BOX 660688
 DALLAS, TX 75266-0688

Vendor No.                           s340

 SBC                                                         GOODS, SERVICES, TRADE                                              $863.01
 PAYMENT CENTER
 PO BOX 989045
 WEST SACRAMENTO, CA 95798-9045

Vendor No.                           s342

 SCOTSMAN PUBLISHING INC                                     GOODS, SERVICES, TRADE                                            $11,367.82
 PO BOX 692
 BOTHELL, WA 98041-0692

Vendor No.        SECUR              s384

 SECURITAS SECURITY SERVICES USA, INC                        GOODS, SERVICES, TRADE                                              $625.02
 ADDRESS UNAVAILABLE AT TIME OF FILING

Vendor No.                           s343

 SHEFSKY & FROELICH                                          GOODS, SERVICES, TRADE                                              $356.60
 111 E WACKER DR STE 2800
 CHICAGO, IL 60601-3713




     Sheet no. 18 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
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   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                    UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                   DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                          AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                OF CLAIM
Vendor No.                           s344

 SHERWOOD SYSTEMS                                            GOODS, SERVICES, TRADE                                             $3,000.00
 1717 E MORTEN AVE STE 270
 PHOENIX, AZ 85020-7610

Vendor No.                           s345

 SIERRA PACIFIC                                              GOODS, SERVICES, TRADE                                             $1,027.71
 PO BOX 10100
 RENO, NV 89520-0024

Vendor No.                           s346

 SIERRA SPRINGS                                              GOODS, SERVICES, TRADE                                              $126.95
 PO BOX 660579
 DALLAS, TX 75266-0579

Vendor No.                           s347

 SILVER STATE COMMUNICATIONS                                 GOODS, SERVICES, TRADE                                              $171.21
 1005 TERMINAL WAY STE 247
 RENO, NV 89502-2186

Vendor No.        SMITH KOT          s385

 SMITH & KOTCHKA                                             GOODS, SERVICES, TRADE                                               $68.75
 317 S 6TH ST
 LAS VEGAS, NV 89101-5806

Vendor No.                           s348

 SOUTHWEST GAS CORPORATION                                   GOODS, SERVICES, TRADE                                              $168.54
 PO BOX 98890
 LAS VEGAS, NV 89150-0101

Vendor No.                           s349

 SPECIAL ORDER SYSTEMS                                       GOODS, SERVICES, TRADE                                            $18,210.81
 575 MENLO DR STE 4
 ROCKLIN, CA 95765-3709

Vendor No.                           s350

 SPRINT-CITY OF INDUSTRY                                     GOODS, SERVICES, TRADE                                             $1,785.33
 PO BOX 79357
 CITY OF INDUSTRY, CA 91716-9357

Vendor No.                           s351

 STATE OF NEVADA BUSINESS LICENSE                            GOODS, SERVICES, TRADE                                              $100.00
 RENEWAL
 PO BOX 52614
 PHOENIX, AZ 85072-2614




     Sheet no. 19 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
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   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                    UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                   DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                          AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                OF CLAIM
Vendor No.                           s352

 STEWART TITLE OF ALBUQUERQUE LLC                            GOODS, SERVICES, TRADE                                               $11.00
 6759 ACADEMY RD NE
 ALBUQUERQUE, NM 87109-3345

Vendor No.                           s19638

 STEWART, THOMAS                                             GOODS, SERVICE, TRADE                                             $27,037.93
 330 GLISTENING CLOUD DR
 HENDERSON, NV 89012-3119

Vendor No.                           s353

 STORAGE ONE                                                 GOODS, SERVICES, TRADE                                              $130.00
 4770 S PECOS RD
 LAS VEGAS, NV 89121-5805

Vendor No.                           s354

 SUMMIT ELECTRIC INC                                         GOODS, SERVICES, TRADE                                              $908.00
 6363 S PECOS RD STE 104
 LAS VEGAS, NV 89120-6291

Vendor No.                           s355

 SUN CITY MACDONALD RANCH COMMUNITY                          GOODS, SERVICES, TRADE                                             $7,650.00
 ASSOC
 2020 W HORIZON RIDGE PKWY
 HENDERSON, NV 89012-2519

Vendor No.                           s356

 SUN CITY SUMMERLIN                                          GOODS, SERVICES, TRADE                                             $3,058.70
 9107 DEL WEBB BLVD
 LAS VEGAS, NV 89134-8567

Vendor No.                           s19639

 SZABO, JANET                                                GOODS, SERVICE, TRADE                                             $15,107.97
 292 FRANCISCO ST
 HENDERSON, NV 89014-6026

Vendor No.                           s19645

 SZABO, JOSEPH                                               GOODS, SERVICE, TRADE                                                 $0.00
 292 FRANCISCO ST
 HENDERSON, NV 89014-6026

Vendor No.                           s357

 TANAMERA APARTMENT HOMES                                    GOODS, SERVICES, TRADE                                              $565.50
 900 S MEADOWS PKWY
 RENO, NV 89521-5940




     Sheet no. 20 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz              Doc 682-6          Entered 06/15/06 23:55:42           Page 25 of 50




   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                 (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                     UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                     DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                           AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                 OF CLAIM
Vendor No.                           s358

 TEXAS REAL ESTATE BUSINESS                                  GOODS, SERVICES, TRADE                                              $4,034.41
 TWO SECURITIES CENTRE
 3500 PIEDMONT RD NE STE 415
 ATLANTA, GA 30305-1503

Vendor No.                           s359

 THE DESIGN FACTORY                                          GOODS, SERVICES, TRADE                                                $12.80
 3622 N RANCHO DR STE 102
 LAS VEGAS, NV 89130-3161

Vendor No.                           s360

 THE MOSER GROUP INC                                         GOODS, SERVICES, TRADE                                              $3,285.00
 4919 UNIONVILLE INDIAN TRL RD W STE 200
 INDIAN TRAIL, NC 28079-9596

Vendor No.                           s361

 THOMSON FINANCIAL                                           GOODS, SERVICES, TRADE                                               $292.08
 PO BOX 71601
 CHICAGO, IL 60694-1601

Vendor No.                           s362

 TRANSUNION TITLE INSURANCE COMPANY                          GOODS, SERVICES, TRADE                                                $30.00
 1060 E WASHINGTON ST STE 100
 COLTON, CA 92324-4188

Vendor No.                           s363

 TURN-KEY SOLUTIONS                                          GOODS, SERVICES, TRADE                                               $338.13
 2231 GRASS LAKE RD
 LINDENHURST, IL 60046-9213

Vendor No.                           s364

 TWELVE HORSES OF NORTH AMERICA                              GOODS, SERVICES, TRADE                                              $7,225.00
 10315 PROFESSIONAL CIR STE 100
 RENO, NV 89521-4803

Vendor No.                           s19682

 U S BANK N A                                       X        GUARANTY                                        X   X              UNKNOWN
 2300 W SAHARA AVE                                           INVESTMENTS IN OPERATING PARTNERSHIPS
 SUITE 200                                                   TANAMERA CORPORATE CENTER
 ATTN CHERI COLBUS
 LAS VEGAS, NV 89102




     Sheet no. 21 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz              Doc 682-6          Entered 06/15/06 23:55:42           Page 26 of 50




   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                 (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                     UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                     DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                           AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                 OF CLAIM
Vendor No.                           s19683

 U S BANK N A                                       X        GUARANTY                                        X   X              UNKNOWN
 2300 W SAHARA AVE                                           INVESTMENTS IN OPERATING PARTNERSHIPS
 SUITE 200                                                   SOUTH MEADOW COMMERCIAL PROPERTY LLC
 ATTN CHERI COLBUS
 LAS VEGAS, NV 89102

Vendor No.                           s19684

 U S BANK N A                                       X        GUARANTY                                        X   X              UNKNOWN
 2300 W SAHARA AVE                                           INVESTMENTS IN OPERATING PARTNERSHIPS
 SUITE 200                                                   LONGLEY TOWN CENTRE, LLC
 ATTN CHERI COLBUS
 LAS VEGAS, NV 89102

Vendor No.                           s19685

 U S BANK N A                                       X        GUARANTY                                        X   X              UNKNOWN
 2300 W SAHARA AVE                                           INVESTMENTS IN OPERATING PARTNERSHIPS
 SUITE 200                                                   CABERNET HIGHLANDS, LLC
 ATTN CHERI COLBUS
 LAS VEGAS, NV 89102

Vendor No.                           s19688

 U S BANK N A                                       X        GUARANTY                                        X   X              UNKNOWN
 2300 W SAHARA AVE                                           INVESTMENTS IN OPERATING PARTNERSHIPS
 SUITE 200                                                   SPARKS GALLERIA INVESTORS, LLC
 ATTN CHERI COLBUS
 LAS VEGAS, NV 89102

Vendor No.                           s365

 U S BANK                                                    GOODS, SERVICES, TRADE                                               $436.68
 ADVANTAGE LINES
 PO BOX 790179
 SAINT LOUIS, MO 63179-0179

Vendor No.                           s366

 UMB HSA PROCESSING                                          GOODS, SERVICES, TRADE                                               $267.16
 PO BOX 219329
 KANSAS CITY, MO 64121-9329

Vendor No.                           s367

 UNITED PARCEL SERVICE                                       GOODS, SERVICES, TRADE                                               $137.23
 LOCKBOX 577
 CAROL STREAM, IL 60132-0001




     Sheet no. 22 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz              Doc 682-6          Entered 06/15/06 23:55:42           Page 27 of 50




   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                 (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                     UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                     DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                           AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                 OF CLAIM
Vendor No.                           s19696

 US BANK NA                                         X        GUARANTY                                        X   X              UNKNOWN
 2300 W SAHARA AVE                                           INVESTMENTS IN OPERATING PARTNERSHIPS
 SUITE 200                                                   TANAMERA COMMERCIAL DEVELOPMENT, LLC
 ATTN CHERI COLBUS                                           LOC
 LAS VEGAS, NV 89102

Vendor No.                           s19802

 US BANK                                                     TRADE PAYABLE                                                      $28,701.00
 ADVANTAGE LINES                                             REVOLVING LINE OF CREDIT
 SAINT LOUIS, MO 63179-0179                                  USA COMMERCIAL MORT.

Vendor No.                           s368

 VALUATION CONSULTANTS LLC                                   GOODS, SERVICES, TRADE                                              $3,500.00
 4970 ARVILLE ST STE 110
 LAS VEGAS, NV 89118-1503

Vendor No.                           s369

 VERIZON WIRELESS                                            GOODS, SERVICES, TRADE                                                $32.04
 PO BOX 4001
 INGLEWOOD, CA 90313-0001

Vendor No.                           s19676

 VINEYARD BANK                                      X        GUARANTY                                        X   X              UNKNOWN
 1260 CORONA POINTE COURT, CORONA, CA                        INVESTMENTS IN OPERATING PARTNERSHIPS
 92879                                                       SOUTHERN CALIFORNIA LAND DEVELOPMENT
 1260 CORONA POINTE COURT                                    HESPERIA II
 CORONA, CA 92879

Vendor No.                           s19677

 VINEYARD BANK                                      X        GUARANTY                                        X   X              UNKNOWN
 1260 CORONA POINTE COURT, CORONA, CA                        INVESTMENTS IN OPERATING PARTNERSHIPS
 92879                                                       SOUTHERN CALIFORNIA LAND DEVELOPMENT
 1260 CORONA POINTE COURT                                    HESPERIA II
 CORONA, CA 92879

Vendor No.                           s19678

 VINEYARD BANK                                      X        GUARANTY                                        X   X              UNKNOWN
 1260 CORONA POINTE COURT, CORONA, CA                        INVESTMENTS IN OPERATING PARTNERSHIPS
 92879                                                       SOUTHERN CALIFORNIA LAND DEVELOPMENT
 1260 CORONA POINTE COURT                                    HESPERIA II
 CORONA, CA 92879




     Sheet no. 23 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz              Doc 682-6          Entered 06/15/06 23:55:42           Page 28 of 50




   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                 (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                     UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                     DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                           AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                 OF CLAIM
Vendor No.                           s19679

 VINEYARD BANK                                      X        GUARANTY                                        X   X              UNKNOWN
 1260 CORONA POINTE COURT, CORONA, CA                        INVESTMENTS IN OPERATING PARTNERSHIPS
 92879                                                       SOUTHERN CALIFORNIA LAND DEVELOPMENT
 1260 CORONA POINTE COURT                                    HESPERIA II
 CORONA, CA 92879

Vendor No.                           s19680

 VINEYARD BANK                                      X        GUARANTY                                        X   X              UNKNOWN
 1260 CORONA POINTE COURT, CORONA, CA                        INVESTMENTS IN OPERATING PARTNERSHIPS
 92879                                                       SOUTHERN CALIFORNIA LAND DEVELOPMENT
 1260 CORONA POINTE COURT                                    HESPERIA II
 CORONA, CA 92879

Vendor No.                           s19681

 VINEYARD BANK                                      X        GUARANTY                                        X   X              UNKNOWN
 1260 CORONA POINTE COURT, CORONA, CA                        INVESTMENTS IN OPERATING PARTNERSHIPS
 92879                                                       SOUTHERN CALIFORNIA LAND DEVELOPMENT
 1260 CORONA POINTE COURT                                    HESPERIA II
 CORONA, CA 92879

Vendor No.                           s19690

 VINEYARD BANK                                      X        GUARANTY                                        X   X              UNKNOWN
 1260 CORONA POINTE COURT, CORONA, CA                        INVESTMENTS IN OPERATING PARTNERSHIPS
 92879                                                       TANAMERA/RORIPAUGH, LLC
 1260 CORONA POINTE COURT
 CORONA, CA 92879

Vendor No.                           s371

 WELLS FARGO BANK PH CC                                      GOODS, SERVICES, TRADE                                               $143.19
 PO BOX 54349
 LOS ANGELES, CA 90054-0349

Vendor No.                           s19797

 WELLS FARGO BANK                                            TRADE PAYABLE                                                       $6,900.00
 MAC T5601-012                                               REVOLVING LINE OF CREDIT
 P O BOX 659700                                              USA COMMERCIAL MORT.
 SAN ANTONIO, TX 78286-0700

Vendor No.                           s370

 WELLS FARGO BANK-JM CC                                      GOODS, SERVICES, TRADE                                                $55.00
 PAYMENT REMITTANCE CENTER
 PO BOX 54349
 LOS ANGELES, CA 90054-0349




     Sheet no. 24 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
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   In re   USA Commercial Mortgage Company                                                     Case No.     06-10725-LBR
                          Debtor                                                                                (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                 CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                    UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                   DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                          AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                OF CLAIM
Vendor No.                           s372

 WELLS FARGO BANK-TH(1291)                                   GOODS, SERVICES, TRADE                                             $1,922.94
 PAYMENT REMITTANCE CENTER
 PO BOX 54349
 LOS ANGELES, CA 90054-0349

Vendor No.                           s373

 WELLS FARGO BANK-TH(6650)                                   GOODS, SERVICES, TRADE                                              $493.88
 PAYMENT REMITTANCE CENTER
 PO BOX 54349
 LOS ANGELES, CA 90054-0349

Vendor No.                           s374

 WELLS FARGO CORPORATE CREDIT CARDS                          GOODS, SERVICES, TRADE                                             $8,533.11
 WELLS FARGO REMITTANCE CENTER
 PO BOX 23003
 COLUMBUS, GA 31902-3003

Vendor No.                           s375

 WEST COAST LIFE INSURANCE COMPANY                           GOODS, SERVICES, TRADE                                              $867.59
 PO BOX 11407
 BIRMINGHAM, AL 35246-0078

Vendor No.                           s376

 WESTERN REAL ESTATE BUSINESS                                GOODS, SERVICES, TRADE                                             $2,376.46
 TWO SECURITIES CENTRE
 3500 PIEDMONT RD NE STE 415
 ATLANTA, GA 30305-1503

Vendor No.                           s377

 WINDER & HASLAM P C                                         GOODS, SERVICES, TRADE                                              $194.80
 175 W 200 S #4000
 PO BOX 2668
 SALT LAKE CITY, UT 84110-2668

Vendor No.                           s378

 WOODBURY & KESLER PC CLIENT                                 GOODS, SERVICES, TRADE                                             $7,097.50
 RETAINERTRUST
 265 EAST 100 SOUTH SUITE 300
 PO BOX 3358
 SALT LAKE CITY, UT 84110-3358




     Sheet no. 25 of 26    sheets attached to Schedule of
                           Creditors Holding Unsecured Nonpriority Claims
                    Case 06-10725-gwz              Doc 682-6          Entered 06/15/06 23:55:42                 Page 30 of 50




   In re   USA Commercial Mortgage Company                                                     Case No.           06-10725-LBR
                          Debtor                                                                                       (If known)

                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                            (Continuation Sheet)

                                                    CODEBTOR                                                       CONTINGENT

                                                        HUSBAND, WIFE, JOINT                                           UNLIQUIDATED
                                                         OR COMMUNITY
                                                                                                                           DISPUTED
              CREDITOR'S NAME AND                                  DATE CLAIM WAS INCURRED AND
                MAILING ADDRESS                                  CONSIDERATION FOR CLAIM, IF CLAIM IS                                 AMOUNT
               INCLUDING ZIP CODE                                   SUBJECT TO SETOFF, SO STATE                                       OF CLAIM
Vendor No.                           s19669

 WRI REALTY INVESTERS                               X        GUARANTY                                              X   X              UNKNOWN
 8105 IRVINE CENTER DRIVE                                    INVESTMENTS IN OPERATING PARTNERSHIPS
 SUITE 420                                                   RAVENSWOOD APPLE VALLEY, LLC
 IRVINE, CA 92618

Vendor No.                           s19691

 WRI REALTY INVESTERS                               X        GUARANTY                                              X   X              UNKNOWN
 8105 IRVINE CENTER DRIVE                                    INVESTMENTS IN OPERATING PARTNERSHIPS
 SUITE 420                                                   TANAMERA / RORIPAUGH II, LLC
 IRVINE, CA 92618

Vendor No.                           s19694

 WRI REALTY INVESTERS                               X        GUARANTY                                              X   X              UNKNOWN
 8105 IRVINE CENTER DRIVE                                    INVESTMENTS IN OPERATING PARTNERSHIPS
 SUITE 420                                                   TRADITIONS @ RORIPAUGH, LLC
 IRVINE, CA 92618

Vendor No.                           s379

 XEROX CORPORATION                                           GOODS, SERVICES, TRADE                                                    $1,435.01
 PO BOX 7405
 PASADENA, CA 91109-7405

Vendor No.                           s380

 YELLOW PAGES UNITED                                         GOODS, SERVICES, TRADE                                                     $304.50
 PO BOX 50038
 JACKSONVILLE, FL 32240-0038




     Sheet no. 26 of 26    sheets attached to Schedule of                                                                     $13,929,089.00
                                                                                                        Total
                           Creditors Holding Unsecured Nonpriority Claims                                                    PLUS UNKNOWN
               Case 06-10725-gwz                           Doc 682-6             Entered 06/15/06 23:55:42                      Page 31 of 50



In re                 USA Commercial Mortgage Company                            ,                                              Case No. 06-10725-LBR
                                         Debtor                                                                                         (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                            Mailing Address               Loan Name                Unremitted Principal
        A A Salazar Multi Services Inc., Annabelle P. Arcilla President            2961 East Serene Ave         Beastar, LLC                                   $21,792.24
                                                                                   Henderson, NV
                                                                                   89074
        A. William Ceglia, a married man dealing with his sole & separate property 3720 Poco Lena Court         Bay Pompano Beach                              $12,951.80
                                                                                   Washoe Valley, NV
                                                                                   89704
        Aaron Hawley, a married man dealing with his sole & separate property      4075 Losee Road              Bay Pompano Beach                              $12,951.80
                                                                                   North Las Vegas, NV 89030
        Aaron I. Osherow, Trustee of the Osherow Trust dated 9/11/89               200 S Brentwood Blvd. #9D    Bay Pompano Beach                              $12,951.80
                                                                                   St. Louis, MO
                                                                                   63105
        Aaron Nordwind and Paula Nordwind Trustees of The Paula Nordwind           1840 Veteran Ave 302         Beastar, LLC                                   $21,792.24
        2001 Revocable Trust U/A dated 12/13/01                                    Los Angeles, CA
                                                                                   90025
        Aaron Nordwind and Paula Nordwind Trustees of The Paula Nordwind           1840 Veteran Ave 302         Universal Hawaii                               $28,804.73
        2001 Revocable Trust U/A dated 12/13/01                                    Los Angeles, CA
                                                                                   90025
        Aaron S. Ramsey and Lara Ramsey, husband and wife, as joint tenants with 7713 N. 41st St.               Bay Pompano Beach                              $12,951.80
        right of survivorship                                                      Niwot, CO
                                                                                   80503
        ACS Nevada, Inc., a Nevada corporation                                     7990 Castle Pines            Beau Rivage Homes/$8,000,000                       $72.99
                                                                                   Las Vegas, NV
                                                                                   89113
        ACS Nevada, Inc., a Nevada corporation                                     7990 Castle Pines            Universal Hawaii                               $28,804.73
                                                                                   Las Vegas, NV
                                                                                   89113
        Adelaide L. Moschogianis, an unmarried woman & Christine Moschogianis, 2916 Gillis Way                  Beau Rivage Homes/$8,000,000                       $87.59
        an unmarried woman                                                         Carson City, NV
                                                                                   89701
        Adib M. Al-Awar & Ellen A. Al-Awar Trustees of the Al-Awar Living Trust 1330 Burro Ct                   Bay Pompano Beach                              $77,710.80
        dated 04/05/01                                                             Gardnerville , NV
                                                                                   89410
        Adib M. Al-Awar & Ellen A. Al-Awar Trustees of the Al-Awar Living Trust 1330 Burro Ct                   Beastar, LLC                                   $87,168.94
        dated 04/05/01                                                             Gardnerville , NV
                                                                                   89410
        Adrian J.R. Oosthuizen, a married man dealing with his sole & separate     5860 Lausanne Dr             Bay Pompano Beach                              $38,855.39
        property                                                                   Reno, NV
                                                                                   89511
        Adrian J.R. Oosthuizen, a married man dealing with his sole & separate     5860 Lausanne Dr             Beastar, LLC                                   $43,584.48
        property                                                                   Reno, NV
                                                                                   89511
        Adrian J.R. Oosthuizen, a married man dealing with his sole & separate     5860 Lausanne Dr             Cabernet                                       $11,538.46
        property                                                                   Reno, NV
                                                                                   89511
        Adrian J.R. Oosthuizen, a married man dealing with his sole & separate     5860 Lausanne Dr             Oak Shores II                                  $20,477.82
        property                                                                   Reno, NV
                                                                                   89511
        Adrian P. Walton & Amy J. Walton, husband & wife, as joint tenants with 31 Cottonwood Drive             Oak Shores II                                  $10,238.91
        right of survivorship                                                      Carlinville, IL
                                                                                   62626
        AHA Family Limited Partnership                                             18321 Ventura Blvd Ste 920   Oak Shores II                                  $10,238.91
                                                                                   Tarzana, CA
                                                                                   91356
        AIG Limited, a Nevada Limited Partnership                                  9904 Villa Granito Ln        Bay Pompano Beach                              $25,903.59
                                                                                   Granite Bay, CA
                                                                                   95746
        AIG Limited, a Nevada Limited Partnership                                  9904 Villa Granito Ln        Universal Hawaii                               $28,804.73
                                                                                   Granite Bay, CA
                                                                                   95746
        Aimee E. Kearns Trustee of the Murray Trust                                5886 N. Bonita Vista St.     Preserve at Galleria, LLC                         $800.39
                                                                                   Las Vegas, NV
                                                                                   89149




SCHEDULES                                                                            Exhibit F-1                                                               PAGE 1
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In re                 USA Commercial Mortgage Company                               ,                                              Case No. 06-10725-LBR
                                         Debtor                                                                                             (If known)




                                               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                   EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                      Creditor Name                                              Mailing Address              Loan Name                  Unremitted Principal
        Aimee E. Kearns, Trustee of the KM Trust                                      5886 N. Bonita Vista St.     Bay Pompano Beach                               $24,090.34
                                                                                      Las Vegas, NV
                                                                                      89149
        Aimee E. Kearns, Trustee of the KM Trust                                      5886 N. Bonita Vista St.     Beastar, LLC                                    $40,533.57
                                                                                      Las Vegas, NV
                                                                                      89149
        Aimee E. Kearns, Trustee of the KM Trust                                      5886 N. Bonita Vista St.     The Gardens, LLC $2,425,000                     $20,618.56
                                                                                      Las Vegas, NV
                                                                                      89149
        Alan B. Friedman, a single man                                                P O Box 1713                 Bay Pompano Beach                               $12,951.80
                                                                                      Bodega Bay, CA
                                                                                      94923
        Alan R. Simmons & Judith B. Simmons, husband & wife, as joint tenants         P O Box 13296                Amesbury/Hatters Point                           $1,359.49
        with right of survivorship                                                    South Lake Tahoe, CA
                                                                                      96151
        Alan R. Simmons & Judith B. Simmons, husband & wife, as joint tenants         P O Box 13296                Bay Pompano Beach                               $12,951.80
        with right of survivorship                                                    South Lake Tahoe, CA
                                                                                      96151
        Alan R. Simmons & Judith B. Simmons, husband & wife, as joint tenants         P O Box 13296                Roam Development Group                            $1,164.97
        with right of survivorship                                                    South Lake Tahoe, CA
                                                                                      96151
        Alan Robinson & Gail Robinson, husband & wife, as joint tenants with right 4919 N Mildred                  Bay Pompano Beach                               $25,903.59
        of survivorship                                                               Tacoma, WA
                                                                                      98407
        Alan Robinson & Gail Robinson, husband & wife, as joint tenants with right 4919 N Mildred                  Beau Rivage Homes/$8,000,000                        $72.99
        of survivorship                                                               Tacoma, WA
                                                                                      98407
        Alan Robinson & Gail Robinson, husband & wife, as joint tenants with right 4919 N Mildred                  Roam Development Group                            $2,329.94
        of survivorship                                                               Tacoma, WA
                                                                                      98407
        Alan Simon & Carol Simon Trustees of the Simon Family Trust 2000              1800 Waldman Ave             Roam Development Group                            $1,164.97
                                                                                      Las Vegas, NV 89102
        Albert J. Mineconzo Trustee of the Albert J. Mineconzo Living Trust dated 2184 Eagle Watch Drive           Amesbury/Hatters Point                           $1,514.22
        11/4/97                                                                       Henderson, NV 89012
        Albert J. Mineconzo Trustee of the Albert J. Mineconzo Living Trust dated 2184 Eagle Watch Drive           Oak Shores II                                   $15,358.36
        11/4/97                                                                       Henderson, NV 89012
        Albert V. Siniscal Trustee for the benefit of Albert V. Siniscal Living Trust 93 Quail Run Rd              Beau Rivage Homes/$8,000,000                       $291.90
                                                                                      Henderson, NV
                                                                                      89014
        Albert Winemiller Inc.                                                        P O Box 66157                Cabernet                                        $23,076.92
                                                                                      Houston, TX 77266
        Aldon G. Cook and Deedra Cook, husband and wife, as joint tenants with        1435 E Venice Ave #261       Beastar, LLC                                    $21,792.24
        the right of survivorship                                                     Venice, FL
                                                                                      34292
        Aldon G. Cook and Deedra Cook, husband and wife, as joint tenants with        1435 E Venice Ave #261       Oak Shores II                                   $10,238.91
        the right of survivorship                                                     Venice, FL
                                                                                      34292
        Alexander Mathes, a married man dealing with his sole & separate property 2232 Springwater                 Amesbury/Hatters Point                           $1,631.41
                                                                                      Las Vegas, NV
                                                                                      89134
        Alexander Mathes, a married man dealing with his sole & separate property 2232 Springwater                 Beau Rivage Homes/$8,000,000                        $72.99
                                                                                      Las Vegas, NV
                                                                                      89134
        Alfred C. Taylor & Rachel B. Taylor Trustees of the Alfred C. Taylor &        5405 Indian Hills Ave        Beau Rivage Homes/$8,000,000                        $72.99
        Rachel B. Taylor Trust dated 10/5/93                                          Las Vegas, NV
                                                                                      89130
        Alfred J. Robertson & Sue E. Robertson, husband & wife, as joint tenants      2515 109th Ave SE            Universal Hawaii                                $28,804.73
        with right of survivorship                                                    Bellevue, WA
                                                                                      98004
        Ali M. Abyane & Soheila M. Abyane Trustees of the Abyane Family Trust 1707 Greenbriar Road                 Cabernet                                         $5,769.23
        dated 2/7/92                                                                  Glendale, CA
                                                                                      91207




SCHEDULES                                                                               Exhibit F-1                                                                PAGE 2
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In re                 USA Commercial Mortgage Company                              ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                             (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                              Mailing Address               Loan Name                 Unremitted Principal
        Ali M. Abyane & Soheila M. Abyane Trustees of the Abyane Family Trust 1707 Greenbriar Road                Preserve at Galleria, LLC                          $200.10
        dated 2/7/92                                                                  Glendale, CA
                                                                                      91207
        Ali Pirani and Anisha Pirani, husband and wife, as joint tenants with the     13174 N 100th Place         Bay Pompano Beach                               $12,951.80
        right of survivorship                                                         Scottsdale, AZ
                                                                                      85260
        Alice Choi, an unmarried woman                                                1804 Paseo Overlook Court   Beau Rivage Homes/$8,000,000                       $291.90
                                                                                      Las Vegas, NV 89128
        Alice Humphry, a married woman dealing with her sole & separate property 3825 Champagne Wood Dr           Amesbury/Hatters Point                             $734.11
        & Valerie Jaeger, a single woman, as joint tenants with right of survivorship North Las Vegas, NV
                                                                                      89031
        Allen K. Forbes, a single man                                                 335 Brande Way              Amesbury/Hatters Point                             $543.80
                                                                                      Carson City, NV
                                                                                      89704
        Allen M. Nirenstein & Dorothy H. Nirenstein Trustees of the Allen M.          403 Woodland Rd.            Bay Pompano Beach                               $12,951.80
        Nirenstein & Dorothy H. Nirenstein 1992 Revocable Trust dated 3/4/92          Kentfield, CA
                                                                                      94904
        Allen M. Nirenstein & Dorothy H. Nirenstein Trustees of the Allen M.          403 Woodland Rd.            Oak Shores II                                   $20,477.82
        Nirenstein & Dorothy H. Nirenstein 1992 Revocable Trust dated 3/4/92          Kentfield, CA
                                                                                      94904
        Allen Rifkin & Rosalyn Rifkin Trustees of the Rifkin 2000 Trust               10024 Pinnacle View Place   Preserve at Galleria, LLC                          $640.31
                                                                                      Las Vegas, NV
                                                                                      89134
        Aloys Fischer and Joyce Fischer, Trustees of The Fischer Family Trust         P O Box 579901              Oak Shores II                                   $10,238.91
        dated 6/9/95                                                                  Modesto, CA
                                                                                      95357
        Aloys Fischer and Joyce Fischer, Trustees of The Fischer Family Trust         P O Box 579901              Roam Development Group                            $1,514.46
        dated 6/9/95                                                                  Modesto, CA
                                                                                      95357
        Alta Funding, Inc., a Florida corporation                                     2324 Del Norte              Preserve at Galleria, LLC                          $400.19
                                                                                      South Lake Tahoe, CA
                                                                                      96150
        Alterio A.G. Banks Trustee of the Alterio A.G. Banks Living Trust dated       5750 Via Real Unit 308      Amesbury/Hatters Point                            $1,359.49
        2/13/96                                                                       Carpinteria, CA
                                                                                      93013
        Althea F. Shef, Trustee of the Althea F. Shef Living Trust dated 5/1/03       56 Calle Cadiz Apt G        Bay Pompano Beach                               $12,951.80
                                                                                      Laguna Woods, CA
                                                                                      92637
        Amelia Moscianese, an unmarried woman                                         1306 W Shellfish Drive      Amesbury/Hatters Point                            $1,359.49
                                                                                      Gilbert, AZ
                                                                                      85233
        Andrea T. Mancuso Family Limited Partnership, Andrea Mancuso General P O Box 981840                       Roam Development Group                            $5,824.85
        Partner                                                                       Park City, UT
                                                                                      84098
        Andrew Dauscher & Ellen Dauscher, husband & wife, as joint tenants with P O Box 10031                     Cabernet                                        $23,076.92
        right of survivorship                                                         Zephyr Cove, NV
                                                                                      89448
        Andrew Dauscher & Ellen Dauscher, husband & wife, as joint tenants with P O Box 10031                     Lake Helen Partners                                $196.05
        right of survivorship                                                         Zephyr Cove, NV
                                                                                      89448
        Andrew Dauscher & Ellen Dauscher, husband & wife, as joint tenants with P O Box 10031                     Universal Hawaii                                $57,609.45
        right of survivorship                                                         Zephyr Cove, NV
                                                                                      89448
        Andrew H. Shahin Trustor & Trustee of The Andrew H. Shahin Trust dated 17158 Forest Hills Drive           Oak Shores II                                   $10,238.91
        6/6/94                                                                        Victorville, CA
                                                                                      92395
        Andrew Peterson & Sharon Peterson Trustees of the Andrew R. Peterson & 798 San Remo Way                   Amesbury/Hatters Point                             $679.74
        Sharon Peterson 1991 Living Trust dated 11/22/91                              Boulder City, NV
                                                                                      89005
        Andrew Peterson & Sharon Peterson Trustees of the Andrew R. Peterson & 798 San Remo Way                   Bay Pompano Beach                               $12,951.80
        Sharon Peterson 1991 Living Trust dated 11/22/91                              Boulder City, NV
                                                                                      89005




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In re                USA Commercial Mortgage Company                           ,                                                Case No. 06-10725-LBR
                                       Debtor                                                                                            (If known)




                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                   Creditor Name                                            Mailing Address                 Loan Name                 Unremitted Principal
        Andrew Peterson & Sharon Peterson Trustees of the Andrew R. Peterson & 798 San Remo Way                 Beau Rivage Homes/$8,000,000                        $72.99
        Sharon Peterson 1991 Living Trust dated 11/22/91                          Boulder City, NV
                                                                                  89005
        Andrew Peterson & Sharon Peterson Trustees of the Andrew R. Peterson & 798 San Remo Way                 Roam Development Group                            $1,164.97
        Sharon Peterson 1991 Living Trust dated 11/22/91                          Boulder City, NV
                                                                                  89005
        Angelo Pernicano & Barbara Pernicano Trustees for the benefit of The      6212 Naha Port Ave            Amesbury/Hatters Point                             $679.74
        Pernicano Family Living Trust                                             Las Vegas, NV 89110
        Angie Yi, a single woman                                                  12532 Oak Knoll Rd Apt A-14   Amesbury/Hatters Point                             $734.11
                                                                                  Poway, CA
                                                                                  92064
        Ann Ulfelder & Leonard Ulfelder, wife & husband, as joint tenants with    630 Blue Spruce Dr            Oak Shores II                                   $10,238.91
        right of survivorship                                                     Danville, CA
                                                                                  94506
        Anne E. Abrams Trustee of the Abrams Living Trust dtd 10/23/96            10490 Wilshire Blvd # 703     The Gardens, LLC Timeshare                        $1,699.89
                                                                                  Los Angeles, CA
                                                                                  90024
        Anne F. Di Salvo, a single woman                                          15520 Fawn Ln                 Amesbury/Hatters Point                             $353.47
                                                                                  Reno, NV
                                                                                  89511
        Anne Flannery, an unmarried woman                                         723 Hillview Dr               Amesbury/Hatters Point                           $1,359.49
                                                                                  Arlington, TX 76011
        Anne Flannery, an unmarried woman                                         723 Hillview Dr               Bay Pompano Beach                               $12,951.80
                                                                                  Arlington, TX 76011
        Anne Flannery, an unmarried woman                                         723 Hillview Dr               Beau Rivage Homes/$8,000,000                       $145.99
                                                                                  Arlington, TX 76011
        Annemarie Rehberger Trustee of the Acres Corporation Defined Benefit      P O Box 3651                  Del Valle Isleton                                 $2,753.62
        Pension Plan                                                              Incline Village, NV
                                                                                  89450
        Annemarie Rehberger, Trustee of the Acres Profit Sharing Plan             P O Box 3651                  Beastar, LLC                                    $21,792.24
                                                                                  Incline Village, NV
                                                                                  89450
        Annie Omaye & Stanley Omaye Trustees of the Omaye 1990 Trust              1846 Three Mile Drive         Bay Pompano Beach                               $12,951.80
                                                                                  Reno, NV
                                                                                  89509
        Anthony Bilotto Trustee of The Anthony Bilotto Trust dated 01/16/03       2956 Crib Point Drive         Cabernet                                        $11,538.46
                                                                                  Las Vegas, NV 89134
        Anthony Di Meo & Shannon Smith Di Meo Trustees of the Di Meo Family 4924 San Sebastian                  Bay Pompano Beach                               $12,951.80
        Trust dated 8/15/00                                                       Las Vegas, NV 89121
        Anthony J. Zerbo, an unmarried man                                        780 Saratoga Ave Apt S107     Amesbury/Hatters Point                           $4,453.59
                                                                                  San Jose, CA 95129
        Anthony J. Zerbo, an unmarried man                                        780 Saratoga Ave Apt S107     Universal Hawaii                                $28,804.73
                                                                                  San Jose, CA 95129
        Anthony M. Barbella and Rose M. Barbella, Trustees of the Barbella Family 7075 Royal Ridge Dr.          Bay Pompano Beach                               $12,951.80
        Trust dated 6/20/80                                                       San Jose, CA
                                                                                  95120
        Anthony Pasqualotto & Alicia Pasqualotto Trustees of the Anthony          5775 S Duneville              Bay Pompano Beach                               $25,903.59
        Pasqualotto & Alicia Pasqualotto 1997 Trust                               Las Vegas, NV 89118
        Anthony V. Gambello & Elizabeth Gambello Trustees of The Gambello         2220 Hot Oak Ridge St         Bay Pompano Beach                               $12,951.80
        Trust                                                                     Las Vegas, NV
                                                                                  89134
        April L. Place, an unmarried woman                                        496 Brockway Road             Del Valle Isleton                                 $2,753.64
                                                                                  Hopkinton, NH 3229
        April M.Corley Trustee of the April Corley Trust, dated 4/25/05           1362 W 17th Street            Bay Pompano Beach                               $25,903.59
                                                                                  San Pedro, CA
                                                                                  90732
        Ardis Weible & Dean F. Weible Co-Trustees of the Weible 1981 Trust        6314 W Tara Ave               Bay Pompano Beach                               $12,951.80
        dated 6/30/81                                                             Las Vegas, NV
                                                                                  89146
        Area 2 LLC, a Nevada limited liability company                            2715 Evergreen Oaks Dr        Roam Development Group                            $1,164.97
                                                                                  Henderson, NV
                                                                                  89052
        Arline L. Cronk & Edward H. Davies Trustees of the Arline L. Cronk &      1631 Picetti Way              Amesbury/Hatters Point                             $271.90
        Edward H. Davies Living Trust dated 6/27/03                               Fernley, NV 89408




SCHEDULES                                                                          Exhibit F-1                                                                  PAGE 4
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                                       Debtor                                                                                             (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address                Loan Name                 Unremitted Principal
        Arline L. Cronk & Edward H. Davies Trustees of the Arline L. Cronk &        1631 Picetti Way             Preserve at Galleria, LLC                          $200.10
        Edward H. Davies Living Trust dated 6/27/03                                 Fernley, NV 89408
        Arnold Alves & Agnes Alves Trustees of the Alves Family Trust dated         9904 Villa Granito Ln        Roam Development Group                            $2,329.94
        10/27/89                                                                    Granite Bay, CA
                                                                                    95746
        Arnold L. Christianson & Angeline M. Christianson, husband & wife, as       2828 N Houghton Road         Amesbury/Hatters Point                             $679.74
        joint tenants with right of survivorship                                    Tucson, AZ
                                                                                    85749
        Arthur A. Snedeker, an unmarried man                                        2425 W 11th St               Bay Pompano Beach                               $12,951.80
                                                                                    Cleveland, OH
                                                                                    44113
        Arthur B. Moore, an unmarried man                                           994 Lilac Ct                 Bay Pompano Beach                               $15,542.15
                                                                                    Minden, NV
                                                                                    89423
        Arthur G. Grant & Jean M. Grant, husband & wife, as joint tenants with      1136 Ralston Drive           Beastar, LLC                                    $43,584.48
        right of survivorship                                                       Las Vegas, NV
                                                                                    89106
        Arthur G. Noxon & Joan Noxon Trustees for the benefit of The Noxon          2657 Windmill Pkwy # 197     Amesbury/Hatters Point                             $271.90
        Family Trust                                                                Henderson, NV
                                                                                    89074
        Arthur G. Noxon & Joan Noxon Trustees for the benefit of The Noxon          2657 Windmill Pkwy # 197     Universal Hawaii                                $34,565.66
        Family Trust                                                                Henderson, NV
                                                                                    89074
        Arthur Noel Trustee of the Arthur J. Noel Trust dated 2/10/97               3400 Cabana Dr #1068         Preserve at Galleria, LLC                          $200.10
                                                                                    Las Vegas, NV 89122
        Arthur P. Schnitzer & Lynn S. Schnitzer Trustees of the Schnitzer Living    20155 N E 38Th Court #1604   Roam Development Group                            $2,329.94
        Trust dated 10/29/91                                                        Aventura, FL
                                                                                    33180
        Arthur Polacheck and Glorianne Polacheck, Husband and wife as joint         2056 Woodlake Circle         Cabernet                                       $115,384.62
        tenants with right of survivorship                                          Deerfield Beach, FL
                                                                                    33442
        Arthur T. Donaldson, a married man dealing with his sole & separate         P O Box 307                  Bay Pompano Beach                               $51,807.18
        property                                                                    Janesville, WI 53547
        Arthur V. Adams Trustee of the Arthur V. Adams Trust dated 9/12/97          9519 Carterwood Road         Bay Pompano Beach                               $12,951.80
                                                                                    Richmond, VA 23229
        Arthur Wilson & Maria Wilson, husband & wife, as joint tenants with right 4800 Morgan Mill Road          Cabernet                                         $5,769.23
        of survivorship                                                             Carson City, NV
                                                                                    89701
        Audrey A. Roe Trustee of The Roe Living Trust dated 2/14/95                 2211 Louisetown Rd           Lake Helen Partners                                 $98.02
                                                                                    Reno, NV
                                                                                    89521
        Audrey A. Roe Trustee of The Roe Living Trust dated 2/14/95                 2211 Louisetown Rd           Oak Shores II                                   $10,238.91
                                                                                    Reno, NV
                                                                                    89521
        August J. Amaral, Inc., a Nevada corporation                                P O Box 70097                Bay Pompano Beach                               $12,951.80
                                                                                    Reno, NV
                                                                                    89570
        August J. Amaral, Inc., a Nevada corporation                                P O Box 70097                Oak Shores II                                   $20,477.82
                                                                                    Reno, NV
                                                                                    89570
        August J. Amaral, Inc., a Nevada corporation                                P O Box 70097                Universal Hawaii                               $115,218.87
                                                                                    Reno, NV
                                                                                    89570
        Augustine Tuffanelli Trustee of the Augustine Tuffanelli Family Trust dated 2260 Mohigan Way             Bay Pompano Beach                               $12,951.80
        7/26/94                                                                     Las Vegas, NV
                                                                                    89109
        B & W Precast Construction, Inc., a California corporation                  2511 Harmony Grove Rd        Roam Development Group                            $4,659.87
                                                                                    Escondito, CA
                                                                                    92029
        B. A. Towle & Deborah R. Towle, husband & wife, as joint tenants with       1120 Donner Pass Rd #142     The Gardens, LLC $2,425,000                     $10,309.28
        right of survivorship                                                       Truckee, CA
                                                                                    96161




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In re                 USA Commercial Mortgage Company                             ,                                               Case No. 06-10725-LBR
                                        Debtor                                                                                             (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                             Mailing Address                Loan Name                 Unremitted Principal
        B.E.A. Family, Inc., a Nevada corporation                                  82 Innisbrook Ave              Bay Pompano Beach                               $12,951.80
                                                                                   Las Vegas, NV
                                                                                   89113
        Barbara A. Cecil, a married woman dealing with her sole & separate         899 Timberlake Drive           Bay Pompano Beach                               $12,951.80
        property                                                                   Ashland, OR
                                                                                   97520
        Barbara C. Smith, a single woman                                           1104 NE Little Harbor Drive    Bay Pompano Beach                               $12,951.80
                                                                                   Deerfield Beach, FL 33441
        Barbara J. Vivero Trustee of the Barbara J. Vivero Revocable Trust         P O Box 30295                  Bay Pompano Beach                               $12,951.80
                                                                                   Las Vegas, NV
                                                                                   89173
        Barbara J. Vivero Trustee of the Barbara J. Vivero Revocable Trust         P O Box 30295                  Roam Development Group                            $1,164.97
                                                                                   Las Vegas, NV
                                                                                   89173
        Barbara L. Gunther, a married woman dealing with her sole & separate       P O Box 614                    Bay Pompano Beach                               $12,951.80
        property                                                                   Verdi, NV
                                                                                   89439
        Barbara L. Jacobs, a single women                                          300 John Thomas Ln             Universal Hawaii                                $28,804.73
                                                                                   Reno, NV
                                                                                   89506
        Barbara M. Chylak, Trustee of the 1995 Tobe Eugene Stricklin and Barbara 261 Fredricksburg Rd             Amesbury/Hatters Point                           $1,359.50
        Stricklin Revocable Trust date 4/11/95                                     Gardnerville, NV
                                                                                   89460
        Barbara M. Sanchez Trustee of The Barbara M. Sanchez 2002 Revocable        P O Box 90528                  Cabernet                                        $23,076.92
        Living Trust dated 4/4/02                                                  Santa Barbara, CA
                                                                                   93190
        Barbara McClaflin Trustee of the Revocable Living Trust Agreement of       1472 Thurston Ave #201         Bay Pompano Beach                               $12,951.80
        Barbara Fay McClaflin                                                      Honolulu, HI
                                                                                   96822
        Barbara McClaflin Trustee of the Revocable Living Trust Agreement of       1472 Thurston Ave #201         Del Valle Isleton                                 $2,753.64
        Barbara Fay McClaflin                                                      Honolulu, HI
                                                                                   96822
        Barbara McClaflin Trustee of the Revocable Living Trust Agreement of       1472 Thurston Ave #201         Freeway 101                                     $50,000.00
        Barbara Fay McClaflin                                                      Honolulu, HI
                                                                                   96822
        Barbara McClaflin Trustee of the Revocable Living Trust Agreement of       1472 Thurston Ave #201         Preserve at Galleria, LLC                          $200.10
        Barbara Fay McClaflin                                                      Honolulu, HI
                                                                                   96822
        Barbara McClaflin Trustee of the Revocable Living Trust Agreement of       1472 Thurston Ave #201         Roam Development Group                            $1,281.47
        Barbara Fay McClaflin                                                      Honolulu, HI
                                                                                   96822
        Barbara Reiss Miller Trustee of the Barbara Reiss Miller Revocable Living 2652 Crown Ridge Drive          Bay Pompano Beach                               $15,542.15
        Trust dated 2/4/03                                                         Las Vegas, NV 89134
        Barbara Sklar Trustee of the Barbara Sklar Revocable Living Trust dated    2429 Bryan Ave                 Oak Shores II                                   $10,238.91
        8/31/01                                                                    Venice Beach, CA
                                                                                   90291
        Barry D. McWaters                                                          P O Box 1807                   Beau Rivage Homes/$8,000,000                       $116.78
                                                                                   Zephyr Cove, NV
                                                                                   89448
        Barry Gambarana, an unmarried man                                          2761 Carnation Lane            Freeway 101                                     $83,333.33
                                                                                   Henderson, NV 89104
        Barry Gambarana, an unmarried man                                          2761 Carnation Lane            Roam Development Group                            $1,164.97
                                                                                   Henderson, NV 89104
        Barry J. Goldstein & Patricia B. Goldstein, as joint tenants with right of 19955 NE 38th Ct Apt #2604     Bay Pompano Beach                               $12,951.80
        survivorship                                                               Aventura, FL
                                                                                   33180
        Barry J. Goldstein & Patricia B. Goldstein, as joint tenants with right of 19955 NE 38th Ct Apt #2604     Roam Development Group                            $1,747.45
        survivorship                                                               Aventura, FL
                                                                                   33180
        Bay Area Capital, LLC, an Oregon limited liability company                 1050 Willagillespie Rd Ste 4   Roam Development Group                            $1,164.97
                                                                                   Eugene, OR
                                                                                   97401




SCHEDULES                                                                             Exhibit F-1                                                                 PAGE 6
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In re                 USA Commercial Mortgage Company                            ,                                                  Case No. 06-10725-LBR
                                         Debtor                                                                                              (If known)




                                               SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                   EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                      Creditor Name                                           Mailing Address                   Loan Name                 Unremitted Principal
        Beatrice L. Schultz Trustee of the Schultz Living Trust dated 5/2/02       1840 Arboleda Ct                 Amesbury/Hatters Point                           $1,359.48
                                                                                   Reno, NV
                                                                                   89521
        Ben Lofgren & Dana Lofgren, Husband and wife as joint tenants with right 28292 Pinebrook                    Bay Pompano Beach                               $12,951.80
        of survivorship                                                            Mission Viejo, CA
                                                                                   92692
        Benjamin J. Feldman & Evelyn Feldman Trustees of The Feldman Family 1 St Marys Court                        Bay Pompano Beach                               $12,951.80
        Trust dated 01/01/93                                                       Rancho Mirage, CA
                                                                                   92270
        Benjamin J. Feldman & Evelyn Feldman Trustees of The Feldman Family 1 St Marys Court                        Roam Development Group                            $1,164.97
        Trust dated 01/01/93                                                       Rancho Mirage, CA
                                                                                   92270
        Bernard A. Kloenne Trustee of the Bernard Kloenne Living Trust dated       1646 Avenida Verde Vista         Amesbury/Hatters Point                           $2,039.24
        10/10/86                                                                   San Dimas, CA
                                                                                   91773
        Bernard A. Kloenne Trustee of the Bernard Kloenne Living Trust dated       1646 Avenida Verde Vista         Bay Pompano Beach                               $19,427.69
        10/10/86                                                                   San Dimas, CA
                                                                                   91773
        Bernard A. Kloenne Trustee of the Bernard Kloenne Living Trust dated       1646 Avenida Verde Vista         Beastar, LLC                                    $32,688.36
        10/10/86                                                                   San Dimas, CA
                                                                                   91773
        Bernard A. Kloenne Trustee of the Bernard Kloenne Living Trust dated       1646 Avenida Verde Vista         Beau Rivage Homes/$8,000,000                       $218.95
        10/10/86                                                                   San Dimas, CA
                                                                                   91773
        Bernard A. Kloenne Trustee of the Bernard Kloenne Living Trust dated       1646 Avenida Verde Vista         Oak Shores II                                   $20,477.82
        10/10/86                                                                   San Dimas, CA
                                                                                   91773
        Bernard A. Kloenne Trustee of the Bernard Kloenne Living Trust dated       1646 Avenida Verde Vista         Roam Development Group                            $1,747.45
        10/10/86                                                                   San Dimas, CA
                                                                                   91773
        Bernard Cohen and Elaine Cohen, Trustees of the Bernard Cohen Trust        4533 White Cedar Ln              Roam Development Group                            $1,164.97
        dated 3/24/88                                                              Del Ray Beach, FL
                                                                                   33445
        Bernard D. Benz & Margaret W. Benz Trustees of The Benz Family Trust 1265 Old Foothills Rd                  Oak Shores II                                   $10,238.91
        dated 7/14/95                                                              Gardnerville, NV
                                                                                   89460
        Bernard Greenblatt Trustee of the Bernard Greenblatt Living Trust UA       880 Buffwood Ave                 Amesbury/Hatters Point                           $2,718.99
        dated 7/15/96                                                              Las Vegas, NV
                                                                                   89123
        Bernard Kaplan Trustee of the Bernard Kaplan Trust UTD 4/11/91             7648 Granville Drive             Amesbury/Hatters Point                             $679.74
                                                                                   Tamarack, AK
                                                                                   33321
        Bernardo G. Gregorio & Corazon S. M. Gregorio, husband & wife, as joint 7195 Iron Oak Ave                   Universal Hawaii                                $61,066.03
        tenants with right of survivorship                                         Las Vegas , NV
                                                                                   89113
        Bert A. Stevenson Trustee of the Dalton Trust dated 1/7/94                 500 N Estrella Pkwy Ste B2-405   Del Valle Isleton                                 $3,304.34
                                                                                   Goodyear, AZ
                                                                                   85338
        Bert E. Arnlund Trustee of the Bert E. Arnlund Charitable Remainder        82 Innisbrook Avenue             Bay Pompano Beach                               $12,951.80
        Unitrust dated 12/31/01                                                    Las Vegas, NV
                                                                                   89113
        Betty A. Fraley, an unmarried woman                                        3175 Solar Blvd 18               Roam Development Group                            $1,164.97
                                                                                   Billings, MT
                                                                                   59102
        Betty Bishofberger, a married woman dealing with her sole and separate     2176 Tiger Willow Drive          Beastar, LLC                                    $21,792.24
        property                                                                   Henderson, NV
                                                                                   89012
        Betty J. Phenix, a married woman dealing with her sole & separate property P. O. Box 982                    Bay Pompano Beach                               $12,951.80
                                                                                   Minden, NV 89423
        Beverly J. Hayes & Charles Hayes, wife & husband, as joint tenants with    6760 Killdeer Lane               Beau Rivage Homes/$8,000,000                        $72.99
        right of survivorship                                                      Creston, CA
                                                                                   93432




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In re                 USA Commercial Mortgage Company                             ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                            (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                             Mailing Address               Loan Name                 Unremitted Principal
        Beverly J. Hayes & Charles Hayes, wife & husband, as joint tenants with   6760 Killdeer Lane             Cabernet                                         $5,769.23
        right of survivorship                                                     Creston, CA
                                                                                  93432
        Billy D. Denny and Donna R. Denny, Trustees of the Billy D. Denny and     8209 Sunbonnet Dr.             Del Valle Isleton                                 $5,507.26
        Donna R. Denny 2000 Revocable Trust dated 1/26/00                         Fair Oaks, CA
                                                                                  95628
        Billy Shope, Jr. Family, LP, a Nevada limited partnership                 2833 Maryland Hills Dr         Beau Rivage Homes/$8,000,000                       $145.99
                                                                                  Henderson, NV
                                                                                  89052
        Brad Hering, an unmarried man                                             62929 Golden Street            Amesbury/Hatters Point                           $1,087.60
                                                                                  Joshua Tree, CA
                                                                                  92252
        Braden G. Dean, a single man                                              71 Silverado Ranch             Amesbury/Hatters Point                             $271.90
                                                                                  Las Vegas, NV
                                                                                  89125
        Bradford H. Smith & Maggie Smith, husband & wife, as joint tenants with P O Box 1455                     Roam Development Group                            $1,164.97
        rights of survivorship                                                    Felton, CA
                                                                                  95018
        Brenda Falvai, an unmarried woman                                         252 Paseo de Juan              Bay Pompano Beach                               $12,951.80
                                                                                  Anaheim, CA 92807
        Brian H. Busse & Dawn Busse, husband & wife, as joint tenants with right 37 Willow Wisp Terrace          Bay Pompano Beach                               $19,427.69
        of survivorship                                                           Henderson, NV
                                                                                  89074
        Brian R. Stange & Amy M. Stange Trustees of The Stange Trust dated        746 Rome Drive                 Preserve at Galleria, LLC                          $200.10
        8/8/02                                                                    Bishop, CA
                                                                                  93514
        Bridget Stewart, an unmarried woman                                       7407 S. Catawea Way            Beau Rivage Homes/$8,000,000                        $72.99
                                                                                  Aurora, CO
                                                                                  80016
        Brooks Bishofberger, an unmarried man                                     1727 Golden Horizon Drive      Amesbury/Hatters Point                             $679.74
                                                                                  Las Vegas, NV
                                                                                  89123
        Bruce D. Wallace Trustee of the B.D.W. 1987 Trust dated 9/29/87           4895 Golden Springs Dr         Universal Hawaii                                $57,609.46
                                                                                  Reno, NV
                                                                                  89509
        Bruce N. Barton Trustee of the Barton Revocable Trust                     350 Kachina Circle             Bay Pompano Beach                               $12,951.80
                                                                                  Las Vegas, NV
                                                                                  89123
        Bruce N. Barton Trustee of the Barton Revocable Trust                     350 Kachina Circle             Del Valle Isleton                                 $2,753.64
                                                                                  Las Vegas, NV
                                                                                  89123
        Bruce R. LeMar, an unmarried man                                          4009 Grand Ave                 Bay Pompano Beach                               $12,951.80
                                                                                  Western Springs, IL
                                                                                  60558
        Bruce Sonnenberg & Rosemary Sonnenberg, husband & wife, as joint          113 Rosewood Lane              Beastar, LLC                                    $43,584.48
        tenants with right of survivorship                                        Chicago Heights, IL
                                                                                  60411
        Bruce Sonnenberg & Rosemary Sonnenberg, husband & wife, as joint          113 Rosewood Lane              Roam Development Group                            $2,329.94
        tenants with right of survivorship                                        Chicago Heights, IL
                                                                                  60411
        Bryan K. Hall, a single man                                               300 W Beech St Unit #1506      Roam Development Group                            $1,164.97
                                                                                  San Diego, CA
                                                                                  92101
        Bryce F. Bell, an unmarried man                                           2570 S. Dayton Way #106        Amesbury/Hatters Point                             $734.12
                                                                                  Denver, CO
                                                                                  80231
        Bunny C. Vreeland, an unmarried woman                                     2334 Eagle Creek Lane          Bay Pompano Beach                               $12,951.80
                                                                                  Oxnard, CA
                                                                                  93036
        Burton M Sack Trustee of the David A Sack Irrevocable Trust dated 3/28/94 415 L'Ambiance Dr PH-D         Oak Shores II                                   $20,477.82
                                                                                  Longboat Key, FL
                                                                                  34228




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In re                USA Commercial Mortgage Company                            ,                                             Case No. 06-10725-LBR
                                       Debtor                                                                                           (If known)




                                            SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                            Mailing Address              Loan Name                  Unremitted Principal
        Burton M Sack Trustee of the Scott A Sack Irrevocable Trust dated 3/18/94 415 L'Ambiance Dr PH-D       Bay Pompano Beach                               $25,903.59
                                                                                   Longboat Key, FL
                                                                                   34228
        Burton M. Sack, a married man dealing with his sole & separate property    415 L'Ambiance Dr PH-D      Amesbury/Hatters Point                             $492.20
                                                                                   Longboat Key, FL
                                                                                   34228
        Burton M. Sack, a married man dealing with his sole & separate property    415 L'Ambiance Dr PH-D      Bay Pompano Beach                               $19,427.69
                                                                                   Longboat Key, FL
                                                                                   34228
        Burton M. Sack, a married man dealing with his sole & separate property    415 L'Ambiance Dr PH-D      Roam Development Group                            $4,659.87
                                                                                   Longboat Key, FL
                                                                                   34228
        Burton M. Sack, a married man dealing with his sole & separate property    415 L'Ambiance Dr PH-D      The Gardens, LLC Timeshare                        $3,399.78
                                                                                   Longboat Key, FL
                                                                                   34228
        Byran J. McWaters & Lisa J. McWaters, joint tenants with right of          P O Box 148                 Amesbury/Hatters Point                           $2,039.24
        survivorship                                                               Ferndale, CA
                                                                                   95536
        Byrne E. Falke Jr. Trustee of the Byrne E. Falke Living Trust dated 6/3/03 P O Box 5676                Bay Pompano Beach                               $12,951.80
                                                                                   Incline Village, NV
                                                                                   89452
        Byrne E. Falke Jr. Trustee of the Byrne E. Falke Living Trust dated 6/3/03 P O Box 5676                The Gardens, LLC $2,425,000                     $10,309.28
                                                                                   Incline Village, NV
                                                                                   89452
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust                 P O Box 3774                Amesbury/Hatters Point                           $1,359.49
                                                                                   Incline Village, NV
                                                                                   89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust                 P O Box 3774                Beastar, LLC                                    $54,480.60
                                                                                   Incline Village, NV
                                                                                   89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust                 P O Box 3774                Beau Rivage Homes/$8,000,000                         $5.83
                                                                                   Incline Village, NV
                                                                                   89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust                 P O Box 3774                Freeway 101                                     $50,000.00
                                                                                   Incline Village, NV
                                                                                   89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust                 P O Box 3774                The Gardens, LLC $2,425,000                     $30,927.84
                                                                                   Incline Village, NV
                                                                                   89450
        Byrne E. Falke Sr. Trustee of the Byrne Falke Living Trust                 P O Box 3774                Universal Hawaii                                $57,609.45
                                                                                   Incline Village, NV
                                                                                   89450
        Byrne E. Falke Sr. Trustee of the Village Hardware Pension Trust           P O Box 3774                Amesbury/Hatters Point                             $679.74
                                                                                   Incline Village, NV
                                                                                   89450
        C. D. R. Enterprises                                                       2574 S Cherry               Beau Rivage Homes/$8,000,000                       $145.99
                                                                                   Fresno, CA
                                                                                   93706
        C. Donald Ayers, a single man                                              P. O. Box 605               Bay Pompano Beach                               $12,951.80
                                                                                   Islamorada, FL
                                                                                   33036
        C. Donald Ayers, a single man                                              P. O. Box 605               Lake Helen Partners                                 $98.02
                                                                                   Islamorada, FL
                                                                                   33036
        C. E. Newby & Carole Newby Trustees of the Newby 1984 Family Trust         5209 Elm Grove Drive        Roam Development Group                            $1,164.97
        dated 3/19/84                                                              Las Vegas, NV
                                                                                   89130
        Cal Terrill & Judy Terrill Trustees of the Terrill Family Revocable Living 6149 Aragon Ave             Amesbury/Hatters Point                             $679.74
        Trust dated 3/11/02                                                        New Port Richey, FL
                                                                                   34653
        Capital Mortgage Investors, Inc., a Florida Corporation                    2999 NE 191 St Ste 905      Bay Pompano Beach                               $12,951.80
                                                                                   Aventura, FL
                                                                                   33180




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In re                USA Commercial Mortgage Company                             ,                                                 Case No. 06-10725-LBR
                                        Debtor                                                                                              (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address                  Loan Name                 Unremitted Principal
        Capstone Asset Management                                                  1390 Frank Hill Road            Amesbury/Hatters Point                             $815.70
                                                                                   Ashland, OR
                                                                                   97520
        Carey B. Sigmen & Lisa K. Sigmen Trustees of The Carey B. Sigmen &         P. O. Box 1554                  Bay Pompano Beach                               $51,807.18
        Lisa K. Sigmen Trust dated 3/3/97                                          Mammoth Lakes, CA
                                                                                   93546
        Carey B. Sigmen & Lisa K. Sigmen Trustees of The Carey B. Sigmen &         P. O. Box 1554                  Roam Development Group                            $2,329.94
        Lisa K. Sigmen Trust dated 3/3/97                                          Mammoth Lakes, CA
                                                                                   93546
        Carl A. Kolbert & Claudia C. Kolbert Trustees of the Kolbert Family Trust 11200 Bondshire Drive            Amesbury/Hatters Point                           $1,359.49
        dated 4/3/03                                                               Reno, NV
                                                                                   89511
        Carl C. Hagen, an unmarried man                                            P O Box 1267                    Cabernet                                         $5,769.23
                                                                                   Fallon, NV 89407
        Carmel Winkler Trustee of the Winkler Family Trust UTD 3/13/86             10000 Rossbury Place            Amesbury/Hatters Point                             $679.74
                                                                                   Los Angeles, CA
                                                                                   90064
        Carmen Kozlowski Trustee of the Carmen Kozlowski Trust dated 5/12/94 5566 Highway 116                      Roam Development Group                            $1,164.97
                                                                                   Forestville, CA 95436
        Carmen Neidig, a widow                                                     3003 Lodgepole Trail            Cabernet                                         $5,769.23
                                                                                   South Lake Tahoe, CA
                                                                                   96150
        Carol A. Fischer Trustee of the Carol A. Fischer Trust dated 8/5/05        6070 Eagle Meadows Cr           Roam Development Group                            $1,164.97
                                                                                   Reno, NV
                                                                                   89509
        Carol C. Eyre & Edward E. Eyre, Jr. Co-Trustees of the Trust A of the 1983 7456 Brothers Lane              Bay Pompano Beach                               $12,951.80
        Living Trust Agreement dated 8/11/83                                       Washoe Valley, NV
                                                                                   89704
        Carol Edward Associates, a California Limited Partnership                  P O Box 8543                    Oak Shores II                                   $20,477.82
                                                                                   Incline Village, NV
                                                                                   89452
        Carol J. Pruner Trustee of the Carol J. Pruner Trust                       7350 Silver Lake Rd Apt # 11A   Freeway 101                                     $41,666.67
                                                                                   Reno, NV
                                                                                   89506
        Carol Mortensen Trustee of the Carol Mortensen Family Trust dated 9/9/90 4847 Damon Circle                 Universal Hawaii                                $28,804.73
                                                                                   Salt Lake City, UT
                                                                                   84117
        Carolyn Rand Samuelson Trustee of the Carolyn Rand Samuelson               3933 Ocean Drive                Amesbury/Hatters Point                           $1,359.48
        Revocable Trust dated 11/2/95                                              Oxnard, CA
                                                                                   93035
        Carolyn Rand Samuelson Trustee of the Carolyn Rand Samuelson               3933 Ocean Drive                Preserve at Galleria, LLC                          $440.21
        Revocable Trust dated 11/2/95                                              Oxnard, CA
                                                                                   93035
        Carter L. Grenz, a divorced man                                            925 Marion County 7002          Del Valle Isleton                                 $5,507.26
                                                                                   Flippin, AR
                                                                                   72634
        Cary Tuch & Carol Tuch, husband & wife, as joint tenants with right of     11445 Gerald                    Oak Shores II                                   $10,238.91
        survivorship                                                               Granada Hills, CA
                                                                                   91344
        Catherine D. Oppio Trustee of the Catherine D. Oppio Trust dated 2/11/04 P O Box 15                        Bay Pompano Beach                               $38,855.38
                                                                                   Crystal Bay, NV
                                                                                   89402
        Catherine Garland, an unmarried woman                                      318 McSkimming Road             Bay Pompano Beach                               $12,951.80
                                                                                   Aspen, CO
                                                                                   81611
        Catherine Perrone, an unmarried woman                                      923 Croton Road                 Bay Pompano Beach                               $25,903.59
                                                                                   Celebration, FL
                                                                                   34747
        Charles A Jensen & Shirley Cupp-Doe, Co-TTEES for the Ronald G Doe         2345 Villandry Court            Roam Development Group                            $2,912.42
        GST Dtd 1/6/95                                                             Henderson, NV
                                                                                   89074
        Charles A. Jensen & Frances Jensen, husband and wife as joint tenants with 2277 Buckingham Court           Roam Development Group                            $4,659.87
        rights of survivorship                                                     Henderson, NV
                                                                                   89074




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In re                USA Commercial Mortgage Company                             ,                                               Case No. 06-10725-LBR
                                        Debtor                                                                                            (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address                Loan Name                 Unremitted Principal
        Charles B. Anderson Trustee of the Charles B. Anderson Trust               211 Copper Ridge Court        Amesbury/Hatters Point                           $2,718.99
                                                                                   Boulder City, NV
                                                                                   89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust               211 Copper Ridge Court        Bay Pompano Beach                               $51,807.18
                                                                                   Boulder City, NV
                                                                                   89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust               211 Copper Ridge Court        Beastar, LLC                                    $43,584.48
                                                                                   Boulder City, NV
                                                                                   89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust               211 Copper Ridge Court        Copper Sage Commerce Center, LLC                $35,750.73
                                                                                   Boulder City, NV
                                                                                   89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust               211 Copper Ridge Court        Del Valle Isleton                               $16,714.49
                                                                                   Boulder City, NV
                                                                                   89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust               211 Copper Ridge Court        Oak Shores II                                   $32,764.51
                                                                                   Boulder City, NV
                                                                                   89005
        Charles B. Anderson Trustee of the Charles B. Anderson Trust               211 Copper Ridge Court        Roam Development Group                            $2,329.94
                                                                                   Boulder City, NV
                                                                                   89005
        Charles B. Dunn, IV Trustee of the Charles B. Dunn, IV Trust dated 8/12/05 17042 Norlene Way             Lake Helen Partners                                 $98.02
                                                                                   Grass Valley, CA
                                                                                   95949
        Charles E. Borom & Lanna G. Borom, husband & wife, as joint tenants with 6106 Sister Elsie Dr            Cabernet                                         $5,769.23
        right of survivorship                                                      Tujunga, CA
                                                                                   91042
        Charles E. Brokop, an unmarried man                                        13835 N Tatum Blvd Ste 9419   Amesbury/Hatters Point                             $679.74
                                                                                   Phoenix, AZ
                                                                                   85032
        Charles E. Brokop, an unmarried man                                        13835 N Tatum Blvd Ste 9419   Beau Rivage Homes/$8,000,000                        $72.99
                                                                                   Phoenix, AZ
                                                                                   85032
        Charles H Small Trustee of the Charles Henry Small Revocable Living Trust 12754 Joleane Ave              Bay Pompano Beach                               $12,951.80
                                                                                   Yuma, AZ
                                                                                   85367
        Charles Harper & Evangeline Harper, husband & wife, as joint tenants with 360 Bret Harte Ave             Roam Development Group                            $1,164.97
        right of survivorship                                                      Reno, NV
                                                                                   89509
        Charles J. Abdo, M.D. Trustee of the Charles J. Abdo, M.D. Chartered PST 2812 Ashby Ave                  Amesbury/Hatters Point                             $679.74
                                                                                   Las Vegas, NV
                                                                                   89102
        Charles J. Boerio & Patricia N. Boerio, joint tenants with right of        1717 Damon Road               Beau Rivage Homes/$8,000,000                       $145.99
        survivorship                                                               Carson City, NV
                                                                                   89701
        Charles J. Spina & Nancy Howell Spina Trustees of the Spina Family Trust 960 Walker Avenue               Amesbury/Hatters Point                             $598.18
        dated 3/8/01                                                               Reno, NV
                                                                                   89509
        Charles R. Brooks and Wendy S. Brooks, husband and wife, as joint tenants 1115 Kentfield Dr.             Roam Development Group                            $1,164.97
        with right of survivorship                                                 Salinas, CA
                                                                                   93901
        Charles S. Cropley, an unmarried man & Christine Wrzenski, an unmarried 21286 Bertram Rd                 Amesbury/Hatters Point                           $1,631.40
        woman, as joint tenants with right of survivorship                         San Jose, CA
                                                                                   95120
        Charles T. Hamm & Sandra L. Hamm, husband & wife, as joint tenants with P O Box 14098                    Universal Hawaii                                $34,565.66
        right of survivorship                                                      South Lake Tahoe, CA
                                                                                   96151
        Charles T. Hamm and Sandra L. Hamm, Trustees of the Hamm Trust dated P O Box 14098                       Bay Pompano Beach                               $12,951.80
        3/17/05                                                                    South Lake Tahoe, CA
                                                                                   96151
        Charles W. Bowman, a single man                                            10881 Valley Drive            Amesbury/Hatters Point                             $764.04
                                                                                   Plymouth, CA
                                                                                   95669




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In re                USA Commercial Mortgage Company                              ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                            (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                              Mailing Address               Loan Name                 Unremitted Principal
        Chesley R. Davies Trustee of the Chesley R. Davies, MD Chtd. PSP           1086 Stone Arches Dr          Freeway 101                                     $83,333.33
                                                                                   Henderson, NV
                                                                                   89052
        Chester R. McDowell, a single man.                                         2715 E Av Q-6                 Beau Rivage Homes/$8,000,000                       $145.99
                                                                                   Palmdale, CA
                                                                                   93550
        Chester R. McDowell, a single man.                                         2715 E Av Q-6                 Roam Development Group                            $2,329.94
                                                                                   Palmdale, CA
                                                                                   93550
        Chris Hendrickson, an unmarried man                                        P O Box 6802                  Universal Hawaii                                $28,804.73
                                                                                   Incline Village, NV
                                                                                   89450
        Chris Kefalas & Kathy Kefalas, joint tenants with right of survivorship    2050 S Robb Way               Oak Shores II                                   $10,238.91
                                                                                   Lakewood, CO
                                                                                   80227
        Christian Hansen, a single man                                             1466 Westwind Road            Bay Pompano Beach                               $25,903.59
                                                                                   Las Vegas, NV
                                                                                   89146
        Christina Kokkinos, as her sole & separate property                        2059 32nd Street              Amesbury/Hatters Point                             $693.34
                                                                                   Astoria, NY
                                                                                   11105
        Christina M. Kehl, an unmarried woman                                      5130 Dunn Road                Bay Pompano Beach                               $51,807.18
                                                                                   East Dubuque, IL
                                                                                   61025
        Christina M. Kehl, an unmarried woman                                      5130 Dunn Road                Freeway 101                                    $125,000.00
                                                                                   East Dubuque, IL
                                                                                   61025
        Christopher Dickinson & Patricia Dickinson, husband & wife, as joint       2845 Klinger Circle # 1       Bay Pompano Beach                               $25,903.59
        tenants with right of survivorship                                         Las Vegas, NV
                                                                                   89121
        Christopher G. Stewart & Christine Stewart, husband & wife, as joint       734 Brick Drive               Beau Rivage Homes/$8,000,000                        $14.58
        tenants with right of survivorship                                         Henderson, NV
                                                                                   89015
        Christopher Hine & Nancy D. Hine Trustees of the Hine Family Trust         13814 Cedar Creek Ave         Oak Shores II                                   $20,477.82
                                                                                   Bakersfield, CA
                                                                                   93314
        Christopher M. Begnoche, an unmarried man & Francis R. Begnoche, as        685 Moonlight Mesa Dr         Amesbury/Hatters Point                             $679.74
        unmarried man, as joint tenants with right of survivorship                 Henderson, NV
                                                                                   89015
        Church of The Movement of Spiritual Inner Awareness                        3500 W Adams Blvd             Bay Pompano Beach                               $25,903.59
                                                                                   Los Angeles, CA 90018
        Church of The Movement of Spiritual Inner Awareness                        3500 W Adams Blvd             Del Valle Isleton                                 $5,507.26
                                                                                   Los Angeles, CA 90018
        Church of The Movement of Spiritual Inner Awareness                        3500 W Adams Blvd             Roam Development Group                            $2,329.94
                                                                                   Los Angeles, CA 90018
        Clair W. Potter Trustee of the Clair W. Potter Trust                       2643 Richmar Drive            Amesbury/Hatters Point                           $1,359.49
                                                                                   Beavercreek, OH
                                                                                   45434
        Clara M. Cadieux & Richard L. Cadieux, wife & husband, as joint tenants 1730 Terrace Heights Ln          Bay Pompano Beach                               $12,951.80
        with right of survivorship                                                 Reno, NV
                                                                                   89523
        Clarence J. Greenwald & Gertrude R. Greenwald, Trustees of the             1608 Caminito Asterisco       Roam Development Group                            $1,164.97
        Greenwald Living Trust dated 5/8/90                                        La Jolla, CA
                                                                                   92037
        Clark Rex Baron and Joyce Payne Baron, Trustees of the Baron Family        1183 W 1380 N                 Roam Development Group                            $1,397.97
        Trust dated 2-9-05                                                         Provo, UT
                                                                                   84604
        Clas G. Karlberg & Ulla G. Karlberg, husband & wife, as joint tenants with P O Box 7388                  Bay Pompano Beach                               $12,951.80
        the right of survivorship                                                  Incline Village, NV
                                                                                   89451
        Clas G. Karlberg & Ulla G. Karlberg, husband & wife, as joint tenants with P O Box 7388                  Roam Development Group                            $1,164.97
        the right of survivorship                                                  Incline Village, NV
                                                                                   89451




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                                         Debtor                                                                                        (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                          Mailing Address               Loan Name                 Unremitted Principal
        Clawiter Associates, LLC, a California limited liability company          2013 Camino Ramon PL        Universal Hawaii                                $28,804.73
                                                                                  Danville, CA
                                                                                  94526
        Clifford D. Hagberg & Claire F. Hagberg, husband & wife, as joint tenants 9601 Lazy River Drive       Beau Rivage Homes/$8,000,000                       $437.96
        with right of survivorship                                                Las Vegas, NV
                                                                                  89117
        Clifford D. Hagberg & Claire F. Hagberg, husband & wife, as joint tenants 9601 Lazy River Drive       Roam Development Group                            $2,329.94
        with right of survivorship                                                Las Vegas, NV
                                                                                  89117
        Clifton H. Spindle & Verna R. Spindle, husband & wife, as joint tenants   1332 Lone Oak Road          Roam Development Group                            $1,747.45
        with right of survivorship                                                Valley View, TX
                                                                                  76276
        Connie Westbrook, an unmarried woman                                      14320 Ghost Rider Dr        Cabernet                                        $11,538.46
                                                                                  Reno, NV
                                                                                  89511
        Constantine Patarias, Trustee of the Constantine PatariasTrust dtd        4545 Dundee Drive           Amesbury/Hatters Point                           $1,484.53
        9/04/2004                                                                 Los Angeles, CA 90027
        Cornerstone Capital Investments, LLC, a Nevada limited liability company 6050 Glowing Cottage Ct      Preserve at Galleria, LLC                          $200.10
                                                                                  Las Vegas, NV
                                                                                  89139
        Craig L. Rommel & Ann Marie Rommel, husband & wife, as joint tenants 8 Fresian                        Preserve at Galleria, LLC                          $800.39
        with right of survivorship                                                Coto De Caza, CA
                                                                                  92679
        Craig Wisch, a single man                                                 210 Andrew Avenue           Beau Rivage Homes/$8,000,000                       $248.14
                                                                                  Naugatuck, CT
                                                                                  6770
        Craig Wisch, a single man                                                 210 Andrew Avenue           Cabernet                                          $9,230.77
                                                                                  Naugatuck, CT
                                                                                  6770
        Curtis L. Rich & Deborah N. Rich Trustees of the Rich Family Trust dated P O Box 2884                 Beastar, LLC                                    $43,584.48
        12/1/95                                                                   Truckee, CA
                                                                                  96160
        Cynthia A. Winter, a married woman dealing with her sole & separate       618 34th Ave North          Freeway 101                                    $166,666.67
        property                                                                  Clinton, IA
                                                                                  52732
        Cynthia Ann Pardee Trustee of the Cynthia Ann Pardee Trust dated 6/20/03 3395 Dove Canyon Dr          Roam Development Group                            $1,164.97
                                                                                  Oxnard, CA
                                                                                  93036
        Cynthia Milanowski Trustee of the Cynthia Milanowski Trust                4484 S Pecos Rd             Beau Rivage Homes/$8,000,000                        $78.18
                                                                                  Las Vegas, NV
                                                                                  89121
        Cynthia Milanowski Trustee of the Cynthia Milanowski Trust                4484 S Pecos Rd             Copper Sage Commerce Center, LLC                $26,813.05
                                                                                  Las Vegas, NV
                                                                                  89121
        D & K Partners Inc., a Nevada corporation                                 7293 W Mariposa Grande Ln   Cabernet                                        $11,538.46
                                                                                  Peoria, AZ
                                                                                  85383
        D. G. Menchetti, an unmarried man                                         P O Box 7100                Bay Pompano Beach                               $25,903.59
                                                                                  Incline Village, NV
                                                                                  89452
        D. G. Menchetti, an unmarried man                                         P O Box 7100                Beastar, LLC                                   $108,961.19
                                                                                  Incline Village, NV
                                                                                  89452
        D. Joseph Doucet & Louise M. Doucet Trustees of the D. Joseph & Louise 3301 Skyline Blvd              Bay Pompano Beach                               $12,951.80
        M. Doucet 1989 Trust dated 3/30/89                                        Reno, NV
                                                                                  89509
        D. Joseph Doucet & Louise M. Doucet Trustees of the D. Joseph & Louise 3301 Skyline Blvd              Lake Helen Partners                                 $98.02
        M. Doucet 1989 Trust dated 3/30/89                                        Reno, NV
                                                                                  89509
        D. Joseph Doucet & Louise M. Doucet Trustees of the D. Joseph & Louise 3301 Skyline Blvd              Preserve at Galleria, LLC                          $240.12
        M. Doucet 1989 Trust dated 3/30/89                                        Reno, NV
                                                                                  89509
        D. Nathan Meehan, a married man dealing with his sole & separate property 450 Gears Rd Ste 860        Oak Shores II                                   $20,477.82
                                                                                  Houston, TX 77067




SCHEDULES                                                                          Exhibit F-1                                                               PAGE 13
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In re                USA Commercial Mortgage Company                             ,                                              Case No. 06-10725-LBR
                                       Debtor                                                                                            (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address              Loan Name                  Unremitted Principal
        D. Nathan Meehan, a married man dealing with his sole & separate property 450 Gears Rd Ste 860          Roam Development Group                            $1,164.97
                                                                                    Houston, TX 77067
        Dale J. McMullan Trustee of the McMullan Living Trust dated 8/19/94         2605 Youngdale Drive        Bay Pompano Beach                               $12,951.80
                                                                                    Las Vegas, NV
                                                                                    89134
        Dale J. McMullan Trustee of the McMullan Living Trust dated 8/19/94         2605 Youngdale Drive        Beastar, LLC                                    $21,792.24
                                                                                    Las Vegas, NV
                                                                                    89134
        Dale J. McMullan Trustee of the McMullan Living Trust dated 8/19/94         2605 Youngdale Drive        Brookmere/Matteson $27,050,000                      $77.66
                                                                                    Las Vegas, NV
                                                                                    89134
        Dale J. McMullan Trustee of the McMullan Living Trust dated 8/19/94         2605 Youngdale Drive        Roam Development Group                            $1,164.97
                                                                                    Las Vegas, NV
                                                                                    89134
        Dale J. McMullan Trustee of the McMullan Living Trust dated 8/19/94         2605 Youngdale Drive        The Gardens, LLC Timeshare                        $1,699.89
                                                                                    Las Vegas, NV
                                                                                    89134
        Dale J. McMullan Trustee of the McMullan Living Trust dated 8/19/94         2605 Youngdale Drive        Universal Hawaii                                $28,804.73
                                                                                    Las Vegas, NV
                                                                                    89134
        Dan Nelson & Teri Nelson, husband & wife, as joint tenants with right of    172 W 1720 N                Amesbury/Hatters Point                             $679.74
        survivorship                                                                Orem, UT
                                                                                    84057
        Dana McDaniel Kanne Trustee of the Dana McDaniel Kanne Separate             1704 Wincanton Drive        Oak Shores II                                   $10,238.91
        Property Trust dated 4/27/99                                                Las Vegas, NV
                                                                                    89134
        Daniel B. Lisek, Claire Lisek & Gayle Harkins Trustees of the Lisek Family 729 Garys Way                Oak Shores II                                   $10,238.91
        Trust dated 1/29/92                                                         Carson City, NV
                                                                                    89701
        Daniel C. Altman & Barbara A. Altman Trustees of the Altman Living Trust P O Box 4134                   Bay Pompano Beach                               $25,903.59
        dated 11/4/04                                                               Incline Village, NV
                                                                                    89450
        Daniel C. Barcia, a married man dealing with his sole & separate property 1600 Picket Court             Bay Pompano Beach                               $12,951.80
                                                                                    Reno, NV
                                                                                    89521
        Daniel D. Newman Trustee of the Daniel D. Newman Trust dated 11/1/92 125 Elysian Drive                  Oak Shores II                                   $17,406.14
                                                                                    Sedona, AZ
                                                                                    86336
        Daniel D. Newman Trustee of the Daniel D. Newman Trust dated 11/1/92 125 Elysian Drive                  Universal Hawaii                                $28,804.73
                                                                                    Sedona, AZ
                                                                                    86336
        Daniel Jenkins and Lori J. Jenkins, husband and wife, as joint tenants with 1071 S Carson St.           Bay Pompano Beach                               $19,427.69
        right of survivorship                                                       Carson City, NV
                                                                                    89701
        Daniel K. Fix & Barbara J. Fix Trustees of the Daniel K. Fix & Barbara J. 113 Pebble Beach Drive        Roam Development Group                            $1,164.97
        Fix Family Trust                                                            Trophy Club, TX
                                                                                    76262
        Daniel L. Everett & Sandra M. Everett, husband & wife, as joint tenants     921 Crystal Court           Roam Development Group                            $1,164.97
        with right of survivorship                                                  Foster City, CA
                                                                                    94404
        Daniel N. Salerno & Virginia P. Salerno Trustees for the Daniel & Virginia P O Box 7869                 Lake Helen Partners                                 $98.02
        Salerno Family Trust dated 8/9/89                                           Incline Village, NV
                                                                                    89452
        Daniel R. Halseth & Sandra K Halseth Trustees of the Halseth Family Trust 23 Molas Drive                Bay Pompano Beach                               $51,807.18
        restated 4/21/00                                                            Durango, CO
                                                                                    81301
        Daniel R. Halseth & Sandra K Halseth Trustees of the Halseth Family Trust 23 Molas Drive                Roam Development Group                            $2,329.94
        restated 4/21/00                                                            Durango, CO
                                                                                    81301
        Daniel R. Jenkins Trustee of the Evelyn W. Jenkins Trust                    1692 County Rd Ste C        Bay Pompano Beach                               $51,807.18
                                                                                    Minden, NV
                                                                                    89423




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In re                 USA Commercial Mortgage Company                            ,                                                Case No. 06-10725-LBR
                                        Debtor                                                                                             (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                            Mailing Address                Loan Name                  Unremitted Principal
        Daniel T. Drubin & Laura Drubin, husband & wife, as joint tenants with    1363 W Stony Run Pl             Roam Development Group                            $1,164.97
        right of survivorship                                                     Oro Valley, AZ
                                                                                  85755
        Darin B. Iverson & Tamara C. Iverson Trustees of the Iverson Family Trust 9811 W Charleston Blvd #2-534   Beastar, LLC                                    $43,584.48
        dated 5/14/01                                                             Las Vegas, NV
                                                                                  89117
        Darrell Rogers & Patricia Rogers Trustees of the Rogers Revocable Living 2869 Del Mar Dr.                 Roam Development Group                            $1,164.97
        Trust dated 04/10/00                                                      Minden, NV 89423
        Daryl L. Blanck & Yvonne M. Blanck Trustees of the Daryl Blanck &         1243 Country Club Dr            Amesbury/Hatters Point                             $407.85
        Yvonne Blanck Trust dated 3/23/94                                         Laughlin, NV
                                                                                  89029
        Daryl L. Blanck & Yvonne M. Blanck Trustees of the Daryl Blanck &         1243 Country Club Dr            Brookmere/Matteson $27,050,000                      $33.97
        Yvonne Blanck Trust dated 3/23/94                                         Laughlin, NV
                                                                                  89029
        Daryl L. Blanck & Yvonne M. Blanck Trustees of the Daryl Blanck &         1243 Country Club Dr            Opaque/Mt. Edge $7,350,000                           $0.01
        Yvonne Blanck Trust dated 3/23/94                                         Laughlin, NV
                                                                                  89029
        David A. Souza & Elizabeth M. Souza, husband & wife, as joint tenants     542 Socorro Ct                  Oak Shores II                                   $14,334.47
        with right of survivorship                                                Reno, NV
                                                                                  89511
        David A. Souza & Elizabeth M. Souza, husband & wife, as joint tenants     542 Socorro Ct                  Universal Hawaii                                $97,569.28
        with right of survivorship                                                Reno, NV
                                                                                  89511
        David C. Jesse, an unmarried man                                          113 Plymouth Ave                Oak Shores II                                   $10,238.91
                                                                                  San Carlos, CA
                                                                                  94070
        David C. Wahl, a married man dealing with his sole and separate property P O Box 8012                     Bay Pompano Beach                               $15,542.15
                                                                                  Mammoth Lakes, CA
                                                                                  93546
        David C. Wahl, a married man dealing with his sole and separate property P O Box 8012                     Oak Shores II                                   $10,238.91
                                                                                  Mammoth Lakes, CA
                                                                                  93546
        David E. Fischer                                                          2857 Paradise Road #1004        Roam Development Group                            $2,912.42
                                                                                  Las Vegas, NV 89109
        David F. Eldridge and Elfriede R. Fujitani, husband and wife, as joint    P O Box 946                     Oak Shores II                                   $20,477.82
        tenants with the right of survivorship                                    Crystal Bay, NV
                                                                                  89402
        David Fossati, a single man                                               P O Box 1435                    Universal Hawaii                                $57,609.45
                                                                                  Longview, WA
                                                                                  98632
        David G. Kelley & Ana W. Kelley Trustees of the Kelley Family Trust UAD 633 Haverkamp Drive               Beau Rivage Homes/$8,000,000                       $145.99
        10/10/91                                                                  Glendale, CA
                                                                                  91206
        David G. Livingston & Erlinda M. Livingston, husband & wife, as joint     1673 Key Colony Drive           Amesbury/Hatters Point                           $1,631.40
        tenants with right of survivorship                                        Las Vegas, NV
                                                                                  89156
        David J. Albiol, a single man                                             P O Box 22007                   Amesbury/Hatters Point                           $4,404.81
                                                                                  Carmel, CA
                                                                                  93922
        David J. Albiol, a single man                                             P O Box 22007                   Bay Pompano Beach                               $25,903.59
                                                                                  Carmel, CA
                                                                                  93922
        David J. Tammadge, an unmarried man                                       7292 Horner Street              Bay Pompano Beach                               $12,951.80
                                                                                  San Diego, CA 92120
        David Johnson & Sue Johnson, joint tenants with right of survivorship     7503 N Moore Road               Oak Shores II                                   $10,238.91
                                                                                  Littleton, CO
                                                                                  80215
        David Kennedy Wingo, an unmarried man dealing with his sole and separate 8003 S 19th Way                  Roam Development Group                            $1,164.97
        property transferable on death to Kinsey Jones Wingo, a married man       Phoenix, AZ
                                                                                  85042
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family           19223 N 132nd Ave               Amesbury/Hatters Point                             $679.74
        Revocable Trust under agreement dated 12/9/99                             Sun City West, AZ
                                                                                  85375




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In re                USA Commercial Mortgage Company                            ,                                              Case No. 06-10725-LBR
                                        Debtor                                                                                          (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                            Mailing Address               Loan Name                 Unremitted Principal
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family            19223 N 132nd Ave           Copper Sage Commerce Center, LLC                $17,875.36
        Revocable Trust under agreement dated 12/9/99                              Sun City West, AZ
                                                                                   85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family            19223 N 132nd Ave           Oak Shores II                                   $10,238.91
        Revocable Trust under agreement dated 12/9/99                              Sun City West, AZ
                                                                                   85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family            19223 N 132nd Ave           Roam Development Group                            $1,164.97
        Revocable Trust under agreement dated 12/9/99                              Sun City West, AZ
                                                                                   85375
        David Kravitz & Mable R. Kravitz Trustees of the Kravitz Family            19223 N 132nd Ave           Universal Hawaii                                $28,804.73
        Revocable Trust under agreement dated 12/9/99                              Sun City West, AZ
                                                                                   85375
        David M. Eastman & Ann D. Eastman Trustees of the David M. & Ann D. 474 Beardsley Circle               Bay Pompano Beach                               $15,542.15
        Eastman Family Living Trust                                                Henderson, NV
                                                                                   89052
        David M. Eby and Patricia D. Eby, husband and wife, as joint tenants with 3358 Old Hwy #191            Bay Pompano Beach                               $25,903.59
        the right of survivorship                                                  Island Park, ID
                                                                                   83429
        David M. Edwards and Marcy P. Edwards, Trustees of the David M. &          9528 Yucca Blossom Drive    Roam Development Group                            $1,164.97
        Marcy P. Edwards Family Trust                                              Las Vegas, NV
                                                                                   89134
        David M. Greenblatt, an unmarried man transfer on death to Karl Greenblatt 880 Buffwood Ave            Bay Pompano Beach                               $15,542.15
                                                                                   Las Vegas, NV
                                                                                   89123
        David M. Jacobson & Cristina Jacobson Trustees of the Jacobson Family      12219 Oakview Way           The Gardens, LLC $2,425,000                     $10,309.28
        Trust dated 2/13/97                                                        San Diego, CA
                                                                                   92128
        David M. Olds & Sally W. Olds, husband & wife, as joint tenants with right 25 N Washington St          Lake Helen Partners                                 $98.02
        of survivorship                                                            Port Washington, NY
                                                                                   11050
        David Mulkey Trustee of the John D. Mulkey 1998 Irrevocable Trust          2860 Augusta Drive          Bay Pompano Beach                               $22,018.06
                                                                                   Las Vegas, NV
                                                                                   89109
        David P. Betteridge, a single man                                          977 W Hano Circle           Amesbury/Hatters Point                           $2,175.20
                                                                                   Ivins, UT
                                                                                   84738
        David P. Betteridge, a single man                                          977 W Hano Circle           Bay Pompano Beach                               $12,951.80
                                                                                   Ivins, UT
                                                                                   84738
        David P. Betteridge, a single man                                          977 W Hano Circle           Beau Rivage Homes/$8,000,000                       $116.78
                                                                                   Ivins, UT
                                                                                   84738
        David P. Betteridge, a single man                                          977 W Hano Circle           Roam Development Group                            $2,329.94
                                                                                   Ivins, UT
                                                                                   84738
        David P. Betteridge, a single man                                          977 W Hano Circle           The Gardens, LLC $2,425,000                     $10,309.28
                                                                                   Ivins, UT
                                                                                   84738
        David P. Ulrich, an unmarried man                                          8015 208th St Court East    Roam Development Group                            $1,164.97
                                                                                   Spanaway, WA
                                                                                   98387
        David R. Fuller & Monica Fuller Trustees of the David R. Fuller & Monica 955 Mullen                    Beau Rivage Homes/$8,000,000                       $291.97
        D. Fuller Trust                                                            Las Vegas, NV
                                                                                   89124
        David Reichel a single man                                                 21191 Jasmines Way # 111    Preserve at Galleria, LLC                          $800.39
                                                                                   Lake Forest, CA
                                                                                   92630
        David Rosner Trustee of the David Rosner Revocable Trust dated             71 Trinidad Drive           Bay Pompano Beach                               $12,951.80
        01/05/2005                                                                 Tiburon, CA
                                                                                   94920
        David Rosner Trustee of the David Rosner Revocable Trust dated             71 Trinidad Drive           Del Valle Isleton                                 $2,753.64
        01/05/2005                                                                 Tiburon, CA
                                                                                   94920




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In re                USA Commercial Mortgage Company                             ,                                              Case No. 06-10725-LBR
                                       Debtor                                                                                            (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address               Loan Name                 Unremitted Principal
        David Rosner Trustee of the David Rosner Revocable Trust dated            71 Trinidad Drive             The Gardens, LLC Timeshare                        $1,699.89
        01/05/2005                                                                Tiburon, CA
                                                                                  94920
        David S. Cadwallader & Alyce E. Cadwallader Trustees of the Cadwallader 14305 Wintu Way                 Amesbury/Hatters Point                           $1,359.49
        2001 Trust                                                                Redding, CA
                                                                                  96003
        David S. Cadwallader & Alyce E. Cadwallader Trustees of the Cadwallader 14305 Wintu Way                 Bay Pompano Beach                               $12,951.80
        2001 Trust                                                                Redding, CA
                                                                                  96003
        David S. Cadwallader & Alyce E. Cadwallader Trustees of the Cadwallader 14305 Wintu Way                 Del Valle Isleton                                 $2,753.64
        2001 Trust                                                                Redding, CA
                                                                                  96003
        David W. Sexton & Pamela K. Sexton, husband & wife, as joint tenants with 21929 N 79th Place            Amesbury/Hatters Point                           $1,359.49
        right of survivorship                                                     Scottsdale, AZ
                                                                                  85255
        David W. Sexton & Pamela K. Sexton, husband & wife, as joint tenants with 21929 N 79th Place            Brookmere/Matteson $27,050,000                      $77.66
        right of survivorship                                                     Scottsdale, AZ
                                                                                  85255
        David W. Toll, a married man dealing with his sole & separate property    P O Drawer F                  Oak Shores II                                   $10,238.91
                                                                                  Virginia City, NV
                                                                                  89440
        Davis Investments, a Nevada partnership                                   3100 Ashby Avenue             Bay Pompano Beach                               $12,951.80
                                                                                  Las Vegas, NV
                                                                                  89102
        Davis Kindred & Kathleen Kindred Trustees of the Kindred Family Trust     1203 S Marsh Avenue           Amesbury/Hatters Point                           $2,969.06
        dated 9/19/96                                                             Reno, NV
                                                                                  89509
        Davis Kindred & Kathleen Kindred Trustees of the Kindred Family Trust     1203 S Marsh Avenue           Roam Development Group                            $2,329.94
        dated 9/19/96                                                             Reno, NV
                                                                                  89509
        Dean F. Weible & Ardis Weible Co-TTEEs of the Weible 1981 Trust dated 6314 W Tara Ave                   Copper Sage Commerce Center, LLC                $35,750.73
        6/30/81                                                                   Las Vegas, NV
                                                                                  89146
        Deanna Stein, a married woman dealing with her sole & separate property 1426 Hometown Ave               Amesbury/Hatters Point                             $543.80
                                                                                  Henderson, NV
                                                                                  89074
        Deborah F. Eifert, a married woman, and Kimberly M. Kulasa, a divorced 3889 Eagle Point Drive           Bay Pompano Beach                               $12,951.80
        woman, as joint tenants with the rights of survivorship                   Beavercreek, OH
                                                                                  45430
        Deborah H. Nogaim, an unmarried woman                                     1149 Pincay Drive             Bay Pompano Beach                               $12,951.80
                                                                                  Henderson, NV
                                                                                  89015
        DeHart/Hooks, LP a Nevada limited partnership                             2737 Billy Casper Dr          Amesbury/Hatters Point                           $2,969.06
                                                                                  Las Vegas, NV
                                                                                  89134
        DeHart/Hooks, LP a Nevada limited partnership                             2737 Billy Casper Dr          Bay Pompano Beach                               $25,903.59
                                                                                  Las Vegas, NV
                                                                                  89134
        DeHart/Hooks, LP a Nevada limited partnership                             2737 Billy Casper Dr          Universal Hawaii                                $40,326.62
                                                                                  Las Vegas, NV
                                                                                  89134
        Delbert C. Case, a single man                                             P O Box 4639                  Amesbury/Hatters Point                           $1,484.53
                                                                                  Incline Village, NV 89450
        Delbert T. Johnston, Jr. & Rebecca J. Johnston Trustees of the Johnston   8027 E Williams Dr            Bay Pompano Beach                               $12,951.80
        Estate Revocable Trust dated 5/17/94                                      Scottsdale, AZ
                                                                                  85255
        Delbert T. Johnston, Jr. & Rebecca J. Johnston Trustees of the Johnston   8027 E Williams Dr            Beastar, LLC                                    $21,792.24
        Estate Revocable Trust dated 5/17/94                                      Scottsdale, AZ
                                                                                  85255
        Delbert T. Johnston, Jr. & Rebecca J. Johnston Trustees of the Johnston   8027 E Williams Dr            Freeway 101                                     $41,666.67
        Estate Revocable Trust dated 5/17/94                                      Scottsdale, AZ
                                                                                  85255




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                                         Debtor                                                                                           (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                             Mailing Address               Loan Name                 Unremitted Principal
        Delbert T. Johnston, Jr. & Rebecca J. Johnston Trustees of the Johnston     8027 E Williams Dr           Roam Development Group                            $1,164.97
        Estate Revocable Trust dated 5/17/94                                        Scottsdale, AZ
                                                                                    85255
        Delbert Watkins & Mary Ann Watkins Trustees of the Watkins Family Trust 265 E Farris Avenue              Oak Shores II                                   $10,238.91
        dated 7/24/92                                                               Las Vegas, NV 89123
        Dell R. Nielson and Penny Nielson Trustees of the Nielson Family Trust      Box 281145 Dysart Ranch      Roam Development Group                            $1,164.97
        dated 3/9/78                                                                Lamoille, NV 89828
        Delwin C. Holt, an unmarried man                                            6606 Evergreen Ave           Cabernet                                         $5,769.23
                                                                                    Oakland, CA
                                                                                    94611
        Delwin C. Holt, an unmarried man                                            6606 Evergreen Ave           Roam Development Group                            $1,164.97
                                                                                    Oakland, CA
                                                                                    94611
        Denise A. Murphy, a single woman                                            410 E 17th Avenue            Oak Shores II                                   $10,238.91
                                                                                    Escondido, CA
                                                                                    92025
        Denise F. Fager Trustee of the Denise F. Fager Revocable Trust under        5 Salvatore                  Freeway 101                                     $83,333.33
        agreement dated 2/28/03                                                     Ladera Ranch, CA
                                                                                    92694
        Denise F. Fager Trustee of the Denise F. Fager Revocable Trust under        5 Salvatore                  Universal Hawaii                                $57,609.45
        agreement dated 2/28/03                                                     Ladera Ranch, CA
                                                                                    92694
        Denise L. Barzan, a married woman dealing with her sole & separate          2508 Van Hoeks Circle        Oak Shores II                                   $10,238.91
        property & Barbara Snelson, a married woman dealing with her sole &         Modesto, CA
        separate property, as joint tenants with the right of survivorship          95356
        Dennis A. DeVito, a married man                                             17071 W Dixie Hwy            Bay Pompano Beach                               $25,903.60
                                                                                    Miami, FL
                                                                                    33160
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust dated 1/21/98 20155 NE 38th Ct Apt #1803   Bay Pompano Beach                               $31,084.31
                                                                                    Aventura, FL
                                                                                    33180
        Dennis Flier & Carol Flier Trustees of the Flier Family Trust dated 1/21/98 20155 NE 38th Ct Apt #1803   Beau Rivage Homes/$8,000,000                        $37.93
                                                                                    Aventura, FL
                                                                                    33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit Trust dated  20155 Porto Vita Way 1803    Amesbury/Hatters Point                           $1,631.40
        6/29/87                                                                     Aventura, FL
                                                                                    33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit Trust dated  20155 Porto Vita Way 1803    Bay Pompano Beach                               $24,349.38
        6/29/87                                                                     Aventura, FL
                                                                                    33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit Trust dated  20155 Porto Vita Way 1803    Beau Rivage Homes/$8,000,000                       $347.37
        6/29/87                                                                     Aventura, FL
                                                                                    33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit Trust dated  20155 Porto Vita Way 1803    Del Valle Isleton                                 $7,159.41
        6/29/87                                                                     Aventura, FL
                                                                                    33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit Trust dated  20155 Porto Vita Way 1803    Oak Shores II                                   $40,955.63
        6/29/87                                                                     Aventura, FL
                                                                                    33180
        Dennis Flier Trustee of the Dennis Flier, Inc. Defined Benefit Trust dated  20155 Porto Vita Way 1803    Roam Development Group                            $1,863.95
        6/29/87                                                                     Aventura, FL
                                                                                    33180
        Dennis G. Yoder & Janice L. Yoder Trustees of the Yoder Living Trust        P O Box 19219                Roam Development Group                            $2,329.94
        dated 10/11/96                                                              Reno, NV
                                                                                    89511
        Dennis J. O'Hare & Irene R. O'Hare Trustees of the Irene R. O'Hare Trust 4844 E Eden Drive               Amesbury/Hatters Point                             $815.70
        dated 7/28/88                                                               Cave Creek, AZ
                                                                                    85331
        Dennis J. O'Hare & Irene R. O'Hare Trustees of the Irene R. O'Hare Trust 4844 E Eden Drive               Del Valle Isleton                                 $2,753.64
        dated 7/28/88                                                               Cave Creek, AZ
                                                                                    85331
        Dennis L. London Trustee of the London Trust dated 9/20/99                  301 W Leslie St # 58         Beau Rivage Homes/$8,000,000                        $58.39
                                                                                    Pahrump, NV
                                                                                    89060




SCHEDULES                                                                             Exhibit F-1                                                               PAGE 18
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                                        Debtor                                                                                           (If known)




                                             SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                 EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                    Creditor Name                                             Mailing Address              Loan Name                  Unremitted Principal
        Dennis M. Keegan and Gwen M. Keegan, husband and wife, as joint tenants 5024 Garlenda Dr                Oak Shores II                                   $10,238.91
        with the right of survivorship                                            El Dorado Hills, CA
                                                                                  95762
        Dennis Raggi, a married man dealing with his sole & separate property     P O Box 10475                 Copper Sage Commerce Center, LLC                $26,813.05
                                                                                  Zephyr Cove, NV
                                                                                  89448
        Dennis Raggi, a married man dealing with his sole & separate property     P O Box 10475                 Roam Development Group                            $4,659.87
                                                                                  Zephyr Cove, NV
                                                                                  89448
        Dennis Raggi, a married man dealing with his sole & separate property     P O Box 10475                 The Gardens, LLC $2,425,000                     $10,309.28
                                                                                  Zephyr Cove, NV
                                                                                  89448
        Dennis Sipiorski & Donna Sipiorski, husband & wife, as joint tenants with 1312 Jackie Ln                Bay Pompano Beach                               $12,951.80
        right of survivorship                                                     Minden, NV
                                                                                  89423
        Dennis Sipiorski & Donna Sipiorski, husband & wife, as joint tenants with 1312 Jackie Ln                Roam Development Group                            $1,164.97
        right of survivorship                                                     Minden, NV
                                                                                  89423
        Dennis W. Boegel, a married man, and Cynthia Reed, a married woman, as 113 Silver Aspen Crt             Amesbury/Hatters Point                           $1,484.53
        joint tenants with the right of survivorship                              Galt, CA
                                                                                  95632
        Derrick Spatorico & Laurie Spatorico, joint tenants with right of         47 Vineyard Hill              Amesbury/Hatters Point                           $2,718.99
        survivorship                                                              Fairport, NY
                                                                                  14450
        Diana A. Oldham, a married woman dealing with her sole & separate         C/O Winx Osborne              Oak Shores II                                   $10,238.91
        property                                                                  1116 Cedar Crest Dr
                                                                                  Minden, NV
                                                                                  89423
        Diana F. Weiland Trustee for the benefit of Gerald R. Weiland & Diana F. 977 W Hano Circle              Amesbury/Hatters Point                           $1,359.49
        Weiland Trust                                                             Ivins, UT
                                                                                  84738
        Diana F. Weiland Trustee for the benefit of Gerald R. Weiland & Diana F. 977 W Hano Circle              Bay Pompano Beach                               $12,951.80
        Weiland Trust                                                             Ivins, UT
                                                                                  84738
        Diana F. Weiland Trustee for the benefit of Gerald R. Weiland & Diana F. 977 W Hano Circle              Beau Rivage Homes/$8,000,000                        $58.39
        Weiland Trust                                                             Ivins, UT
                                                                                  84738
        Diana F. Weiland Trustee for the benefit of Gerald R. Weiland & Diana F. 977 W Hano Circle              Roam Development Group                            $2,329.94
        Weiland Trust                                                             Ivins, UT
                                                                                  84738
        Diana F. Weiland Trustee for the benefit of Gerald R. Weiland & Diana F. 977 W Hano Circle              The Gardens, LLC $2,425,000                     $10,309.28
        Weiland Trust                                                             Ivins, UT
                                                                                  84738
        Diana Forde, TTEE of the Michelle Revocable Trust dated 05/03/02          4956 Ridge Drive #83          Amesbury/Hatters Point                             $914.14
                                                                                  Las Vegas, NV
                                                                                  89103
        Diane S. Avanzino, an unmarried woman                                     1116 Cathedral Ridge St       Beastar, LLC                                    $43,584.48
                                                                                  Henderson, NV
                                                                                  89052
        Dick Wiechers Trustee of the Wiechers Family Trust                        136 Bernoulli Street          Roam Development Group                            $2,329.94
                                                                                  Reno, NV
                                                                                  89506
        Dina Ladd, a single woman                                                 355 Mogul Mountain Dr         The Gardens, LLC Timeshare                        $1,699.89
                                                                                  Reno, NV
                                                                                  89523
        Dina Ladd, a single woman                                                 355 Mogul Mountain Dr         Universal Hawaii                                $28,804.73
                                                                                  Reno, NV
                                                                                  89523
        Dino Sarno & Donna Sarno, husband & wife, as joint tenants with right of 4054 Ellenita Ave              Universal Hawaii                                $28,804.73
        survivorship                                                              Tarzana, CA
                                                                                  91356
        Dixie B. Gross Trustee of the Dixie B. Gross Revocable Trust              1333 Keene Rd Rte 3           Bay Pompano Beach                               $25,903.59
                                                                                  Ladysmith, BC




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                                        Debtor                                                                                          (If known)




                                              SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                  EXHIBIT F-1 - CREDITORS HOLDING UNREMITTED PRINCIPAL

                                     Creditor Name                                           Mailing Address               Loan Name                 Unremitted Principal
        Dixie B. Gross Trustee of the Dixie B. Gross Revocable Trust                1333 Keene Rd Rte 3        Universal Hawaii                                $57,609.45
                                                                                    Ladysmith, BC
        DNS Second Family Limited Partnership                                       P O Box 7869               Universal Hawaii                                $57,609.45
                                                                                    Incline Village, NV
                                                                                    89452
        Dolores A. Petro, a married woman dealing with her sole & separate          14242 Riverside Dr 103     Universal Hawaii                                $28,804.73
        property                                                                    Sherman Oaks, CA
                                                                                    91423
        Dominique Naylon, an unmarried woman                                        P O Box 2                  Del Valle Isleton                                 $2,753.64
                                                                                    Topaz, CA
                                                                                    96133
        Dominique Naylon, an unmarried woman                                        P O Box 2                  Oak Shores II                                   $20,477.82
                                                                                    Topaz, CA
                                                                                    96133
        Don F. Carrier & Sara L. Carrier Trustees of the Carrier Family Trust dated 3175 Greensburg Circle     Bay Pompano Beach                               $12,951.80
        8/9/91                                                                      Reno, NV
                                                                                    89509
        Don Hellings Trustee of the Don & Helen Hellings Family Trust               331 Glennora Way           Universal Hawaii                                $34,565.66
                                                                                    Buellton, CA
                                                                                    93427
        Don P. Marshall Trustee of the Don P. Marshall Trust dated 7/18/95          221 Chiquita Road          Amesbury/Hatters Point                           $1,359.49
                                                                                    Healdsburg, CA
                                                                                    95448
        Donald A. Herrmann & Nancy E. Herrmann, husband & wife, as joint            15212 Stinson Dr           Lake Helen Partners                                 $98.02
        tenants with right of survivorship                                          Grass Valley, CA
                                                                                    95949
        Donald Dean Burger & Peggy T. Burger Trustees of the Burger 1981 Trust 2790 S Torrey Pines Dr          Oak Shores II                                   $20,477.82
                                                                                    Las Vegas, NV
                                                                                    89146
        Donald E. Shoup & Sharon K. Shoup, husband & wife, as joint tenants with 417 West St                   Amesbury/Hatters Point                           $2,969.06
        right of survivorship                                                       Wellsville, MO
                                                                                    63384
        Donald E. Shoup & Sharon K. Shoup, husband & wife, as joint tenants with 417 West St                   Bay Pompano Beach                               $25,903.59
        right of survivorship                                                       Wellsville, MO
                                                                                    63384
        Donald E. Shoup & Sharon K. Shoup, husband & wife, as joint tenants with 417 West St                   Roam Development Group                            $2,329.94
        right of survivorship                                                       Wellsville, MO
                                                                                    63384
        Donald E. Virts & Patricia Virts Trustees of the Virts Revocable Living     4381 W Hidden Valley       Amesbury/Hatters Point                           $2,531.49
        Trust                                                                       Reno, NV
                                                                                    89502
        Donald E. Virts & Patricia Virts Trustees of the Virts Revocable Living     4381 W Hidden Valley       Cabernet                                        $11,538.46
        Trust                                                                       Reno, NV
                                                                                    89502
        Donald G. Bevan and Bette Coleen Bevan, husband and wife, as joint          1553 W Springwater Dr      Preserve at Galleria, LLC                          $344.17
        tenants with the rights of survivorship                                     Orem, UT
                                                                                    84058
        Donald G. Bevan and Bette Coleen Bevan, husband and wife, as joint          1553 W Springwater Dr      Roam Development Group                            $1,328.07
        tenants with the rights of survivorship                                     Orem, UT
                                                                                    84058
        Donald H. Kwiatkowski & Sandra L. Kwiatkowski, husband & wife, as joint 15710 Dawson Creek Drive       Roam Development Group                            $1,281.46
        tenants with right of survivorship                                          Monument, CO
                                                                                    80132
        Donald H. Pinsker, an unmarried man                                         8650 W Verde Way           Amesbury/Hatters Point                             $282.82
                                                                                    Las Vegas, NV
                                                                                    89149
        Donald H. Pinsker, an unmarried man                                         8650 W Verde Way           Bay Pompano Beach                               $25,903.60
                                                                                    Las Vegas, NV
                                                                                    89149
        Donald H. Pinsker, an unmarried man                                         8650 W Verde Way           Beastar, LLC                                    $32,688.36
                                                                                    Las Vegas, NV
                                                                                    89149




SCHEDULES                                                                           Exhibit F-1                                                               PAGE 20
